                                        Monolines Ex. 47
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                Desc:
                       Monolines Ex. 47 Page 1 of 86



                                        CONTRATO DE PRESTAMO


              DE LA PRIMERA P ARTE: El BANCO GUBERNAMENT AL DE FOMENTO

       PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la Ley

       Nu.m. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el "BANCO"),

       representado en este acto por su Vicepresidente Ejecutivo y Agente Fiscal, Juan M. Roman,

       mayor de edad, casado, ejecutivo y vecino de Guaynabo, Puerto Rico.

              DE    LA SEGUNDA            PARTE:   La   AUTORIDAD      DE    CARRETERAS        Y

       TRANSPORTACION DE PUERTO RICO, una entidad jurldica creada en virtud de la

       Ley Num. 74 de 23 de junio de 1965, (la" AUTORIDAD"), segun enmendada, representada

       en este acto por Ruben A Hernandez Gregorat, Director Ejecutivo de la Autoridad y

       Secretario del Departamento de Transportaci6n y Obras Publicas, mayor de edad, casado,

       ingeniero y vedno de Guaynabo, Puerto Rico.



                                                EXPONEN

              POR CUANTO: La AUTORIDAD interesa obtener financiamiento para sufragar su

       Programa de Mejoras Capitales (PMC) correspondiente al primer semestre del Afio Fiscal

       2012. Esta peti.d6n form6 parte de la solicitud de financiamiento que hizo la AUTORIDAD

       al BANCO en septiembre de 2011 para finandar su PMC, sufragar la conversion al Sistema

       Auto Expreso en la PR-22 y PR-5 y para cubrir ciertos gastos operacionales del primer

       semestre del Afio Fiscal 2012.

              POR CUANTO: A traves de la Resoluci6n 9624 de 21 de septi.embre de 2011

       (Resolud6n 9624), el BANCO autoriz6 la concesi6n de una 1mea de credito por $71,119,589


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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47 Desc:
                                          2
                       Monolines Ex. 47 Page  2 of 86           --------- - - - - - -




      solam.ente para proveer los recurses necesarios para cubrir la conversi6n al Sistema Auto

      Expreso en la PR-22 y PR-5 y ciertos gastos operacionales del primer semestre del Afio

      Fiscal 2012, evidenciado mecliante Contrato de Prestamo y su respective Pagare, suscrito

      por el BANCO y la AUTORIDAD el 27 de octub!e de 2011. La aprobaci6ri del remanente

      del financiamiento que tiene el prop6sito de cubrir los costos del primer semestre del Ano

      Fiscal 2012 del PMC, se condicion6 a los resultados de la evaluaci6n y validaci6n del PMC,

      por parte de una firma de consultores extemos especializados, segun dispone la

      Resoluci6n 9624.

             POR CUANTO: El BANCO, a traves de PG Engineering Solutions, PSC, firma de

      consultores externos, evalu6 y valid6 el PMC para el primer semestre del Afio Fiscal 2012,

      lo que permiti.6 confirmar la necesidad del financiamiento por parte de la AUTORIDAD.

             POR CUANTO: En virtud de lo anterior, el 16 de noviembre de 2011 la Junta de

      Directores del BANCO aprob6 la Resoluci6n Num. 9655 (Resoluci6n 9655) para conceder a

      la AUTORIDAD una linea de creclito no rotativa por la suma maxima de CUARENIA Y

      NUEVE :MILLONES TRESOENTOS VEINTICINCO MIL DOLARES ($49,325,000) para

      financiar el PMC durante el primer semestre del Afio Fiscal 2012.

             POR CUANTO: La AUTORIDAD, mediante la Resoluci6n 2011-70 adoptada por

      el Secretario de Transportaci6n y Obras Pt1blicas y Director Ejecutivo de la AUTORIDAD

      el 22 de noviembre de 2011, acept6 los terminos y condidones establecidos por el BANCO

      a traves de la Resoluci6n 9655, y autoriz6 la ejecuci6n y otorgamiento de los documentos

      legales necesarios para evidenciar el finandamiento.

             POR LO QUE, en consideraci6n a los hechos afumados anteriormente, los cuales

      las partes hacen constar son ciertos y aceptan como parte integrante de este CONTRATO




                                                                                AAFAF_CONF_0003754
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47               Desc:
                                         3
                       Monolines Ex. 47 Page  3 of 86

      DE PRESTAMO, y a las representaciones, acuerdos y garantias que mas adelante se

      exponen, las partes comparedentes, acuerdan y convienen otorgar este Contrato de

      Prestamo.



                                          ARTICULOl.

                                           PRESTAMO

      1.1    Linea de Credito:

             Una vez se otorguen y suscriban los DOCUMENTOS LEGALES que se relacionan

      en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el BANCO extendera a la

      AUTORJDAD una LfNEA DE CREDITO no rotatoria por la cantidad maxima de

      principal de CUARENTA Y NUEVE MILLONES TRESCIENTOS VEINTICINCO MIL·

      D6LARES ($49,325,000), mas intereses capitalizados. La AUTORIDAD utilizara este total

      autorizado para financiar su Programa de Mejoras Capitales del primer semestre del Afi.o

      Fiscal 2012.

             La LINEA DE CREDITO estara evidenciada por un PAGARE por la misma

      cantidad autorizada a traves de este CONTRATO DE PRESTAMO, suscrito en esta

      misma fecha y pagadero a la orden del BANCO.

             Los fondos provenientes de la LfNEA DE CREDITO se utilizaran para financiar

      determinados proyectos del PMC de la AUTORIDAD durante el primer semestre del Afi.o

      Fiscal 2012. La AUTORIDAD se compromete y acuerda que cualquier modificad6n o

      enmienda al PMC, debera ser previamente notificado por escrito al BANCO.




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47             Desc:
                                          4
                       Monolines Ex. 47 Page  4 of 86

      1.2    Tasa de Interes:

             La AUTORIDAD acuerda y conviene que la LINEA DE CREDITO acumulara

      intereses diarios computados a base del balance vigente de principal en esta LfNEA DE

      CREDITO, calculados sobre una base actual/360 dias, de acuerdo con la tasa de mteres

      preferencial fluctuante Prime Rate, segun detemtinada por el BANCO, mas un diferencial

      de ciento cmcuenta (150) puntos base. La tasa de interes que aplicara a esta LINEA DE

      CREDITO no sera menor de seis por ciento (6%). El BANCO podra revisar de tiempo en

      tiempo la base, margen y periodicidad de la tasa de mteres, segun estime necesario y de

      acuerdo con el mercado de tasas de mteres. La tasa de mteres variara de acuerdo a como

      varfe la tasa de :interes preferencial fluctuante Prime Rate.

             Los mtereses de la LINEA DE CREDITO seran pagaderos al vencimiento o en

      fecha anterior, si se saldara antes.

             Si en la fecha de vencimiento de la obligaci6n de repago la AUTORIDAD no ha

      pagado el balance insoluto del principal, la AUTORIDAD pagara intereses sobre dicha

      suma computados a base de doscientos (200) puntos base sobre la tasa que le aplicaria

      bajo este CONTRATO DE PRESTAMO.

      1.3    Term.mo y Fuente de Pago:

             El principal de Ia LfNEA DE CREDITO mas los intereses capitalizados seran

      pagaderos el 31 de enero de 2013. La fuente de pago seran futuras emisiones de bonos y

      cualesquiera otros fondos disponibles de la AUTORIDAD.

      1.4    Desembolsos:

             La AUTORIDAD debera solicitar los desembolsos por escrito, con tres (3) dias

      laborables de anticipaci6n.      La solicitud de desembolso induira un formulario de




                                                                             AAFAF_CONF_0003756
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                   Desc:
                       Monolines Ex. 47 Page 5 of 86

      certificaci6n (notice of drawing) similar al Anejo A de este Contrato, en el cual el Director

      Ejecutivo de la AUTORIDAD, o la persona que este designe, certificara la necesidad de

      los fondos y la justificaci6n para su uso.     La AUTORIDAD debera incluir, adema.s,

      cualquier otra documentaci6n que el BANCO a su entera discreci6n le solicite previo al

      desembolso, incluyendo, pero sin limitarse, a copias de facturas.

             Los desembolsos bajo este financiamiento estan sujetos a la certificaci6n que debe

      emifu Agenda Fiscal del BANCO sobre el cumplimiento de la AUTORIDAD con los

      terminos y condiciones estipulados en el Fiscal Oversight Agreement (FOA) que la

      AUTORIDAD tenga vigente con el BANCO, asf como con los terminos y condiciones de

      cualquier otro contrato de prestamo vigente con el BANCO, o que no haya sido

      satisfecho en su totalidad. Igua1mente, la AUTORIDAD reconoce y acepta que los

      desembolsos quedan condicionados al cumplimiento de la AUTORIDAD en la entrega o

      presentaci6n de informaci6n o documentos requeridos por el BANCO, en relaci6n con

      una emisi6n de bonos que se trabaja actualmente, de manera que no se atrase dicha

      transacci6n.



                                            ARTICUL02.

                                    ACUERDOSAHRMATIVOS

      2.1    Otras Condidones:

             La AUTORIDAD conviene y acuerda:

             (a)     Notificar al BANCO mediante certificaci6n cualquier cambio en su

                     Program.a de Mejoras Capitales para el primer semestre del Afio




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47 Desc:
                       Monolines Ex. 47 Page 6 of 86    ----------~-                                ·-



                   Fiscal 2012 o cualquier acontecimiento que altere o modifique la Iista de

                   proyectos presentada al BANCO al solicitar el financiamientoi

            (b)    Entregar trimestralmente un registro que incluya la lista de los proyectos

                   bajo el PMC, los cambios o modificadones en estos, desembolsos realizados

                   y el balance disponible de fondos para cada proyecto;

            (c)    Pagar al BANCO la suma de VEINTICUATRO MIL SEISCIENTOS

                   SESENTA Y DOS DOLARES CON CINCUENTA CENTAVOS ($24,662.50)

                   (correspondiente al 1/20 del 1 %), por concepto de honorarios por asesoria

                   financiera correspondientes a esta tra.nsacci6n, segun la politica vigente del

                   BANCO, los cuales pqdran ser incluidos coma pa.rte de este financiamiento,

                   de ser necesario.

            (d)    Entregar oportunamente la solicitud de financiamiento del PMC para el

                   segundo semestre del Afi.o Fiscal 2012.

            Este CONTRATO DE PRESTAMO se otorga como una declarad6n oficial de

     intenci6n bajo la regulaci6n del Departamento del Tesoro de los Esta.dos Unidos,

     Secci6n 1.150-2.

            El BANCO se reserva el derecho de solicitar a la AUTORIDAD cualquier

     informaci6n adicional que sea necesaria para emifu los desembolsos o para cualquier

     prop6sito reladonado con este CONTRATO DE PRESTAMO o PAGARE.

     2.2    Causa de Incumplimiento:

            El BANCO se reserva el derecho de cancelar la LINEA DE CREDITO por

      desviaciones de los prop6sitos de la LINEA DE CREDITO, del cumplimiento con el




                                                                               AAFAF_CONF_0003758
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                Desc:
                                          7 7 of 86
                       Monolines Ex. 47 Page

      Financial Oversight Agreement y demas requisitos que establece este CONTRATO DE

      PRESTAMO, o de las procedimientos de desembolso del BANCO.

             La AUTORIDAD notificara al BANCO de cualquier condici6n, hecho o suceso

      que pueda constituir causa de incumplimiento o en virtud de cuya notificaci6n o el mero

      transcurso del tiempo, o ambos, pueda constituir causa de incumplimiento,

      entregandole al BANCO una certificaci6n suscrita por uno de sus oficiales, espedficando

      la naturaleza de dicha causa, tiempo durante el cual ha existido, y que curso de acci6n la

      AUTORIDAD se propone iniciar con relaci6n a los mismos. Tai notificaci6n debera ser

      cursada al BANCO dentro de los diez (10) dias siguientes a la ocurrencia del

      incumplimiento.

      2.3    Pago de Gestiones Extrajudidales de Cobro, Honorarios, Gastos, etc.:

             A requerimiento del BANCO, la AUTORJDAD debera rembolsar prontamente al

      BANCO el pago de las costas, gastos y honorarios de abogados incurridos por el

      BANCO en gestiones extrajudiciales de cobro de cualquier plazo en mora en relad6n con

      la LINEA DE CREDITO adeudada por la AUTORIDAD. La omisi6n de la AUTORIDAD

      de reembolsar dichas costas, gastos y honorarios de abogados constituira causa de

      incumplimiento en la LINEA DE CREDITO.

             Dichas costas, gastos y honoraries de abogados incurridos par el BANCO de

      conformidad con las disposiciones de este CONTRATO DE PRESTAMO seran

      reembolsados por la AUTORIDAD de :inmediato al serle requeridos.

      2.3    Incumplimiento bajo los Documentos Legales:

            La AUTORIDAD conviene que cualquier incumplimiento de los terminos del

      PAGARE     y/ o   la   carta   de   compromise,   sera   considerado simultaneamente




                                                                               AAFAF_CONF_0003759
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                                           8 8 of 86
                       Monolines Ex. 47 Page

       incumplimiento con este CONTRATO DE PRESTAMO y viceversa, y de ocurrir el

       mismo, el BANCO tendra inmediatamente el derecho de ejecutar cualesquiera de los

       derechos y privilegios que puedan conferir cualquiera de los DOCU:MENTOS

       LEGALES.

       2.4   Autorizadon para Tomar Prestado:

             La AUTORIDAD ha tornado las medidas apropiadas y necesarias, oficiales o de

       otro tipo, para autorizar el otorgamiento y entrega de los DOCUMENTOS LEGALES sin

      limitaci6n alguna.



                                            ARTICUL03.

                                        INCUMPLIMIENTOS

      3.1    Causas de Incumplimiento:

             Cada una de las siguientes constituira una causa de incumplimiento bajo los

      terminos de este CONTRATO DE PRESTAMO:

             3.1.1     si cualquier representaci6n dada o extendida por Ia AUTORIDAD al

                       BANCO en cualquiera de las tram.Hes y DOCUMENTOS LEGALES, o si

                       cualquier informe, garantia o certificado financiero o de otra mdole

                       provisto al BANCO en relaci6n con este CONTRATO DE PRESTAMO

                       resultare falso o engafioso;

             3.1.2     la falta de pago de principal e intereses y sus penalidades, si alguna, de

                       la LINEA DE CREDITO a su fecha de vencimiento de acuerdo con los

                       termmos de cualquiera de los DOCUMENTOS LEGALES;




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                                          9 9 of 86
                       Monolines Ex. 47 Page

            3.1.3      el incumplimiento o violaci6n por la AUTORIDAD de cualquiera de los

                       terminas, clausulas y condiciones pactadas con el BANCO en los

                      Articulos 1 y 2 de este CONTRATO DE PRESTAMO; o

            3.1.4     la omisi6n par la AUTORIDAD de remediar o subsanar dentro de un

                      plaza de treinta (30) dias de su ocurrencia, sin notificaci6n previa escrita

                      por parte del BANCO, cualquier incumplimiento a los terminos,

                      clausulas y condidones de este CONTRATO DE PRESTAMO. Esto no

                      aplica a los term:inos y condiciones relacionadas con las obligaciones de

                      page de la LINEA DE CREDITO, ya que la AUTORIDAD debera

                      cumplir estrictamente con dicho pago a su vencimiento.

      3.2   Remedios:

            Ante la ocurrencia de cualquiera de las causas de incumplimiento enumeradas en

      el Articulo 3.1 de este CONTRATO DE PRESTAMO, y si dicho :incumplimiento no es

      subsanado o remediado segun dispuesto, sin que sea necesario que medie notificaci6n

      alguna del incumplimiento, a cuyos derechos la AUTORIDAD mediante el presente

      otorgamiento renuncia, el BANCO podra:

            3.2.1   proceder a reclamar el pago del balance insoluto de la LINEA DE

                    CREDITO;

            3.2.2   radicar un procedimiento judicial solicitando el cumplimiento espec:ilico

                    de cualquier termino, clausula o condici6n de cualquiera de los

                    DOCUMENTOS LEGALES, o un entredicho (":injunction") provisional o

                    permanente para impedir que la AUTORIDAD viole cualquiera de dichos

                    terminas, clausulas y condiciones; o




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47               Desc:
                                         10 10 of 86
                       Monolines Ex. 47 Page

            3.2.3    ejercitar cualquier otro remedio a que tenga derecho bajo las leyes de!

                     Estado Libre Asociado de Puerto Rico.

             La AUTORIDAD autoriza al BANCO y le confiere poder, sin que se requiera

      notificaci6n alguna, para aplicar el derecho a compensaci6n tset-off) a las obligaciones

      que se origin.an en este CONTRATO DE PRESTAMO, realizando cualquier aplicaci6n de

      pagos de cualquier suma de dinero perteneciente a la AUTORIDAD en poder de! BANCO

      para el pago de la LINEA DE CREDITO e intereses acumulados, en caso de

      incumplimiento por la AIITORIDAD de sus obligaciones de pago bajo el CONTRATO DE

      PRESTAMO.



                                              ARTICUL04.

                                  DISPOSICIONES MISCELANEAS

      4.1    Documentos Legales:

             Segun    utilizado   en   este    CONTRATO      DE   PRESTAMO,      el   termino

      DOCUMENTOS LEGALES significa:

                     1. PAGARE

                     2. CONTRATO DE PRESTAMO

      4.2    Renuncias, Alivios, Prorrogas, Tolerandas y Remedios Adidonales:

             Ninguna dilaci6n o demora por parte del BANCO o de cualquier tenedor o

      duefio del PAGARE en el ejercicio de cualquier derecho, facultad o remedio que pueda

      tener conforme a los term.in.as de cualquiera de los DOCUMENTOS LEGALES se

      considerara como una renuncia, limitaci6n o disminuci6n de los mismos, como tampoco

      el ejercicio parcial o exclusivo de cualquiera de los mismos sera 6bice para que




                                                                              AAFAF_CONF_0003762
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47               Desc:
                                          11 11 of 86
                       Monolines Ex. 47 Page

      subsiguientemente sean ejerdtados en su totalidad, induyendo, pero sin linritarse a ello,

      el derecho de compensaci6n.       Los remedios a favor del BANCO dispuestos en los

      DOCUMENTOS LEGALES se consideraran adicionales a, y no·excluyentes de, cualquier

      otro remedio contemplado en ley. Para que todo alivio, pr6rroga o tolerancia extendida

      por el BANCO a la AUTORIDAD, o cualquier enrnienda a este CONTRATO DE

      PRRESTAMO, sea efectiva, debera constar por escrito suscrito por un oficial autorizado

      del BANCO, que especificara el alcance del alivio, pr6rroga, toleranda o enmienda

      concedida.    Todo alivio, pr6rroga, tolerancia o enmienda concedida sera valida

      uni.camente para la ocurrencia o eventualidad para la cual se concedi6.

      4.4    Direcdones para Notificadones, etc.:

             Toda notificaci6n, reclamo, directriz o cualquier comunicaci6n dispuesta por los

      DOCUMENTOS LEGALES constara por escrito y debera ser entregada personalmente o

      enviada por fax o par correo, a las siguientes direcciones:

             A LA   II   AUTORIDAD":

             Autoridad de Carreteras y Transportaci6n
             Departamento de Transportaci6n y Obras Publicas
             P.O. Box 42007
             San Juan, Puerto Rico 00940-2007
             (787) 721-8787

             Atenci6n: Director Ejecutivo

             AL "BANCO":

             Banco Gubemamental de Fomento para Puerto Rico
             P.O. Box 42001
             San Juan, Puerto Rico 00940-2001
             Fax: (787) 721-1443

             Atenci6n: Presidente




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                                          12 12 of 86
                       Monolines Ex. 47 Page

       o a cualquier otra direcci6n que las partes sefi.alen mediante notificaci6n escrita cursada

       conforme a lo dispuesto en este Articulo. Estas se consideraran perfeccionadas una vez

       las mismas se depositen debidamente franqueadas en el correo y sean cursadas a las

       direcciones mencionadas.

      4.5    Sucesores y Causahabientes:

              Los pactos y clausulas aqui contenidas obligaran y beneficiaran a las partes y a

      sus respectivos causahabientes, albaceas, adm.inistradores, sucesores y cesionarios.

      4.6     Renundas por la AUTORIDAD a Presentadon, Protesto, etc.;

              La AUTORIDAD renuncia a toda notificaci6n de aceptaci6n o demanda o

      requerimiento a la realizad6n de cualquier condici6n precedente por parte del BANCO,

      y asi mismo renuncia a los derechos de presentaci6n, protesto, notificaci6n de protesto,

      requerimiento de pago, notificaci6n de incumplimiento o falta de pago, relevo,

      compromiso, compensaci6n, transacci6n, pr6rroga, renovaci6n o extensi6n de cualquier

      derecho contractual o instrumento legal y, en general, a toda otra formalidad legal.



                               [FIRMAS EN LA SIGUIENTE PAGINA]




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                   Desc:
                                           13 13 of 86
                       Monolines Ex. 47 Page

              EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan este

       CONTRATO DE PRESTAMO, en San Juan, Puerto Rico,                        hoy 2!}_ de noviembre

       de 2011.


       BANCO GUBERNAMENTAL DE                          AUTORIDAD DE CARRETERAS Y
       FOMENTO PARA PUERTO RICO                        TRANSPORTACI   DE PUERTO RICO




       uanM.Rom.an                                     Ruben A Hernandez Gregorat
       Vicepresidente Ejecutivo                        Director Ejecutivo y
        y Agente Fiscal                                Secretario, Departamento de Transportaci6n
                                                        y Obras Publicas de Puerto Rico

       Testimonio 113

              Reconocido y suscrito ~,PE.l'2!J\1J.~ffi A Hernandez Gregorat, mayor de edad,
       casado, ejecutivo y vecino de ~';Puer1o'Rico, en su caracter de Director Ejecutivo de
       la Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del
       Departamento de Trasportaci6n y Obras Publicas de Puerto Rico, a quien conozco
       personalmente.

             En San     '-'"-:::~•...]... ,   a ').// de noviembre de 2011.




              Reconocido y suscrito ante mi por Juan M. Roman, mayor de edad, casado y
      vecino de Guaynabo1 Puerto Rico, en su caracter de Vicepresidente Ejecuti.vo y Agente
      Fiscal, del Banco Gubemamental de Fomento para Puerto Rico, a quien conozco
      personaJmente.




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47           Desc:
                       Monolines Ex. 47 Page 14 of 86



                 PRIMERA ENMIENDA A CONTRATO DE PRESTAMO


                                      COMPARECEN


           DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

   PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la

   Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el "BANCO"),

   representado en este acto por Jose R. Otero Freirfa, Vicepresidente Ejecutivo y Director

   de Financiamiento, mayor de edad, casado, ejecutivo y residente de Dorado, Puerto Rico.



           DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

   TRANSPORTA CION DE PUERTO RICO., una entidad juridica creada en virtud de la

   Ley Num. 74 de 23 de junio de 1965, (la "AUTORIDAD"), segun enmendada,

   representada en este acto por Ruben A. Hernandez Gregorat, Director Ejecutivo de la

   Autoridad y Secretario del Departamento de Transportaci6n y Obras Publicas, mayor de

   edad, casado, ingeniero y vecino de Guaynabo, Puerto Rico.



           A menos que un termino escrito en letras mayusculas sea definido de otra forma

   en esta Primera Enmienda al Contrato de Prestamo ("Primera Enmienda"), el mismo

   tendra el significado adscrito en el CONTRATO DE PRESTAMO segun se define mas

   adelante.




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47            Desc:
                       Monolines Ex. 47 Page 15 of 86


                                          EXPONEN

            PRIMERO: El 16 de noviembre de 2011, la Junta de Directores del BANCO aprob6 la

    Resoluci6n Num. 9655 para conceder a la AUTORIDAD una lfnea de credito para finandar el

    Programa de Mejoras Capit.ales ("PMC") durante el primer semestre del Ano Fiscal 2012. De

    conformidad con lo anterior, el 29 de noviembre de 2011, Ia AUTORIDAD y el BANCO

    suscribieron un Contrato de Prestamo (el "CONTRATO DE PRESTAMO") mediante el cual

    se concedi6 a la AUTORIDAD una LINEA DE CREDITO no rot.ativa por la suma maxima

    de CUARENTA Y NUEVE MILLONES TRESCIENTOS VEINTICINCO MIL D6LARES

    ($49,325,000). En la misma fecha de otorgamiento del CONTRATO DE PRESTAMO, la

    AUTORIDAD suscribi6 un PAGARE por la suma de $49,325,000 a la orden del BANCO

    y con vencimiento el 31 de enero de 2013.



            SEGUNDO: La AUTORIDAD ha solicitado al BANCO un desembolso con

    cargo a la LINEA DE CREDITO por la cantidad de Dos Millones Tresdentos

    Veintisiete Mil Ochenta y Cuatro D6lares con Cuarenta y Seis Centavos

    ($2,327,084.46) para el pago de una deuda con el Municipio de Guaynabo reladonada

    al proyecto Puente Periferal Sur.



            TERCERO: La Junta de Directores del BANCO ha autorizado enmendar el uso

    estableddo en el CONTRATO DE PRESTAMO a los fines de reprograrnar fondos de la

    LINEA DE CREDITO para el pago de la mencionada deuda de la AUTORIDAD con el



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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47             Desc:
                       Monolines Ex. 47 Page 16 of 86


    Municipio de Guaynabo, segun los terminos y condiciones aprobados en la Resoluci6n

    Num. CE2012-16 adoptada en reuni6n celebrada el 10 de febrero de 2012, y certificada

    por la Secretaria de dicha Junta, la Leda. Zulema E. Martinez Alvarez el 28 de febrero de

    2012.



            POR LO QUE, en considerad6n a los hechos afirmados anteriormente, y a las

    representaciones, acuerdos y garantias que mas adelante se exponen, las partes

    comparecientes:

                                 ACUERDAN Y CONVIENEN


            PRIMERO: Se enmienda la Secd6n 1.1 del Articulo 1 del CONTRATO DE

    PREST AMO para que lea como sigue:

            "Una vez se otorguen y suscriban Ios DOCUMENTOS LEGALES que se.
            relacionan en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el BANCO
            extendera a la AUTORIDAD una LINEA DE CREDITO no rotatoria por la
            cantidad maxima de principal de CUARENTA Y NUEVE MILLONES
            TRESCIENTOS VEINTICINCO MIL D6LARES ($49,325,000), mas intereses
            capitalizados. La AUTORIDAD utilizara este total autorizado para financiar su
            Program.a de Mejoras Capitales del primer semestre del Afio Fiscal 2012, asf
            como tambien efectuar el pago de la deuda correspondiente al proyecto Puente
            Periferal Sur por la cantidad de $2,327,084.46 a favor del Municipio de
            Guaynabo.

            La LINEA DE CREDITO esta evidenciada por un PAGARE por la misma
            cantidad autorizada a traves del CONTRATO DE PRESTAMO, suscrito en Ia
            misma fecha y pagadero a Ia orden deI BANCO.

            Los fondos provenientes de la LINEA DE CREDITO se utilizaran para
            financiar determinados proyectos del PMC de la AUTORIDAD durante el
            primer semestre del Afio Fiscal 2012 y para el pago de la deuda a favor del
            Municipio de Guaynabo correspondiente al proyecto Puente Periferal Sur. La
            AUTORIDAD se compromete y acuerda que cualquier modificaci6n o

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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47          Desc:
                       Monolines Ex. 47 Page 17 of 86


           enmienda al PMC, debera ser previamente notificado por escrito al BANCO."


           SEGUNDO: Las partes hacen constar que la AUTORIDAD ha dado

   cumplimiento a las disposiciones establecidas en las Secciones 1.1 y 2.1 (a) del

   CONTRATO DE PRESTAMO mediante la notificaci6n de la certificaci6n requerida.



           TERCERO: Todas las demas clausulas y condiciones del         CONTRATO DE

   PRESTAMO y PAGARE permaneceran inalteradas.




                        [PAGINA DE FIRMAS A CONTINUACI6N]




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                       Monolines Ex. 47 Page 18 of 86


            EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

    PRIMERA          ENMIENDA A CONTRATO DE PRESTAMO ENMENDADO Y

    REITERADO, en San Juan, Puerto Rico, a _1i_ de febrero de 2012.



    BANCO GUBERNAMENTAL DE                      AUTORIDAD DE CARRETERAS Y
    FOMENTO PARA PUERTO RICO                    TRANSP T   I6N DE PUERTO RICO



    Jos                1a                      Ru e     . Hernandez Gregorat
    Vi         en e jecutivo                   Director Ejecutivo y
     y       or de Finanzas                    Secretario, Departarnento de Transportaci6n
                                               y Obras Publicas de Puerto Rico


    Testirnonio   Cu!/!i.
           Reconoddo y suscrito ante mi por Ruben A Hernandez Gregorat, mayor de edad,
    casado, ejecutivo y vedno de San Juan, Puerto Rico, en su caracter de Director Ejecutivo de la
    Autoridad de Carreteras y              ·6n de Puerto Rico, y Secretario del Departamento de
    Trasportaci6n y Obras P                    ·co, a quien conozco personahnente.
                             $:              :11'.
            En San Juan, P                           rero de 2012.




    Testirnonio f#</S-

           Reconocido y suscrito ante mf por Jose R. Otero Freiria, mayor de edad, casado y
    vecino de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y Director de
    Financiamiento, del Banco Gubemamental de Fomento para Puerto Rico, a quien conozco
    personahnente.

            EnSanJ




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       Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47               Desc:
                              Monolines Ex. 47 Page 19 of 86


                              SEGUNDA ENMIENDA A CONTRATO DE PRESTAMO

                                                    COMPARECEN

                      DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO PARA

               PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la Ley Num. 17,

               aprobada el 23 de septiembre de 1948, segun enmendada, (el "BANCO"), representado en

               este acto por Jose R. Otero Freiria, Vicepresidente Ejecutivo y Director de Financiamiento,

               mayor de edad, casado, ejecutivo y residente de Dorado, Puerto Rico.

                      DE   LA    SEGUNDA        P ARTE:   La   AUTORIDAD         DE   CARRETERAS        Y

               TRANSPORTACION DE PUERTO RICO; una entidad jurfdica creada en virtud de la Ley

               Num. 74 de 23 de junio de 1965, (la "AUTORIDAD"), segun enmendada, representada en

               este acto por Ruben A Hernandez Gregorat, Director Ejecutivo de la Autoridad y Secretario

               del Departamento de Transportaci6n y Obras Publicas, mayor de edad, casado, ingeniero y

               vecino de Guaynabo, Puerto Rico.

                     A menos que un termino escrito en letras mayusculas sea definido de otra form.a en

               esta Segunda Enmienda al Contrato de Prestamo ("Segunda Enmienda"), el mismo tendra el

               significado adscrito en el CON1RATO DE PREST AMO segun se define mas adelante.

                                                       EXPONEN

                      PRIMERO: El 16 de noviembre de 2011, Ia Junta de Directores del BANCO aprob6 la

               Resoluci6n Num. 9655 para conceder a la AUTORIDAD una linea de credito para financiar el

               Program.a de Mejoras Capitales ("PMC") durante el primer semestre del Ano Fiscal 2012. De

               confomridad con lo anterior, el 29 de noviembre de 2011, la AUTORIDAD y el BANCO

               suscribieron un Contrato de Presta.mo (el "CONTRATO DE PRESTAMO") mediante el cu.al

               se concedi6 a la AUTORIDAD una LINEA DE CREDITO no rotativa por la sum.a maxima




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                    Desc:
                       Monolines Ex. 47 Page220 of 86


        de CUARENTA Y NUEVE l\1.lLLONES TRESCIENTOS VEINTICINCO MIL D6LARES

        ($49,325,000). En Ia misma fecha de otorgamiento del CONTRATO DE PRESTAMO~ la                        I

        AUTORIDAD suscribi6 un PAGARE por la suma de $49,325,000 a la orden del BANCO y

        con vencimiento el 31 de enero de 2013.

               SEGUNDO: El 28 de febrero de 2012, el BANCO y la AUTORIDAD suscribieron

        una Primer Enmienda a Contrato de Prestamo a los fines de autorizar un desembolso con

        cargo a Ia LINEA DE CREDITO por la cantidad de Dos Millones Trescientos Veintisiete

        Mil Ochenta y Cuatro D6lares con Cuarenta y Seis Centavos ($2,327,084.46) para el pago

        de una deuda con el.Municipio de Guaynabo relacionada al proyecto Puente Perileral Sur.

               TERCERO: El Comite Ejecutivo de la Junta de D:i.rectores del BANCO ha autor:izado

        enmendar el uso establecido en el CONTRATO DE PRESTAMO a los fines de

        reprogramar los fondos de la LINEA DE CREDITO para el pago parcial de la reclamaci6n

        relacionada con la construcci6n del Expreso Martinez Nadal de la AUTORIDAD con el

        Municipio de Guaynabo por Dos :Mill.ones Ttescientos Setenta y Cuatro Mil Trescientos

        Veintiseis D6lares con Tres Centavos ($2,374,326.03), segun los terminos y condiciones

        aprobados en la Resoluci6n Num. CE2012-4_7 adoptada en reuni6n celebrada el 8 de junio de            tc

        2012, y certifi.cada por la Secretaria de dicha Junta, la Leda. Zulema E. Martinez Alvarez el 12 ·

        de junio de 2012.

               POR LO QUE, en consideraci6n a los hechos afirmados anteriormente, y a las

        representaciones, acuerdos y garantias que mas adelante se exponen, las partes

        comparedentes:                                                                                       .d
       Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                              Monolines Ex. 47 Page421 of 86

                      EN TESTIMONIO DE LO CUAL, las partes comparedentes otorgan esta

                SEGUNDA ENMIENDA A CONTRATO DE PRESTAMO, en San Juan, Puerto Rico, a

                Jk de junio de 2012.
               BANCO GUBERNAMENTAL DE
               FOMENTO PARA PUERTO RICO
                                                              ~@Q™:$
                                                              AUTORIDAD DE CARRETERAS Y
                                                                                  DEPUERTO~CO



               J                                             Ruben A. Hernandez Gregorat
               V                fecutivo                     Director Ejecutivo y
                         r de Finanzas                       Secretario, Departamento de Transportad6n
                                                             y Obras Publicas de Puerto Rico

               Testimonio tpq.2,

                            oddo y suscrito ante mi por Ruben A Hernandez Gregorat, mayor de edad,
                                 :vecino de San Juan, Puerto Rico, en su caracter de Director Ejecutivo de la
                                        y Transportaci6n de Puerto Rico, y Secretario del Departamento de
                                       ublicas de Puerto Rico, a quien conozco personaJmente.
                                ,j   r"
                                     r-
                                          rto Rico, a   /~ de junio de 2012.




               Testirnonio /flfi_

                      Reconocido y suscrito ante mi por Jose R. Otero Freiria, mayor de edad, casado,
               ejecutivo y vecino de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y
               Director de Finandamiento, del Banco Gubem.amental de Fomento para Puerto Rico, a quien
               conozco personalmente.                              ·

                      En San Juan, Puerto Rico, a       /)... de junio de 2012.




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                       Monolines Ex. 47 Page 22 of 86



                        TERCERA ENMIENDA A CONTRATO DE PRESTAMO

                                            COMPARECEN

              DE LA PRIMERA PARTE:           El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una :i.nstituci6n bancaria organizada y existente a tenor con la Ley

       Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el "BANCO"),

       representado en este acto por Jose R. Otero Freirfa, Vicepresidente Ejecutivo y Director de

       Financiamiento, mayor de edad, casado, ejecutivo y residente de Dorado, Puerto Rico.

              DE   LA    SEGUNDA        PARTE:    La   AUTORIDAD         DE   C.ARRETERAS        Y

       TRANSPORTACI6N DE PUERTO RICO, una entidad jurldica creada en virtud de la
                                              II
       Ley Nam. 74 de 23 de junio de 1965, (la AUTORIDAD"), segun enmendada, representada

       en es:te acto por Ruben A. Hernandez Gregorat, Director Ejecutivo de Ia Autoridad y

       Secretario del Departamento de Transportad6n y Obras Publicas, mayor de edad, casado,

       ingeniero y vecino de Guaynabo, Puerto Rico.

              A menos que un termino escrlto en lettas mayusculas sea definido de otra forma en

       esta Tercera Enmienda al Contrato .de Prestam.o ("Tercera Enmienda"), el mismo tendra el

       signilicado adscrito en el CONTRATO DE PRESTAMO segon se define mas adelante,

                                               EXPONEN

              POR CUANTO: EI 16 de noviembre de 2011, 1a Junta de Directores del BANCO

       aprob6 la Resoluci6n Num. 9655 para conceder a la AUTORIDAD una Jin.ea de credito para

       firumdar el Program.a de Mejoras Capitales ("PMC11 ) durante el primer semestre del Afio

       Fiscal 2012. De conformidad con lo anterior, el 29 de noviembre de 2011, Ia AUTORIDAD y

       el BANCO suscribieron un Contrato de Prestamo (el "CONTRATO DE PR.ESTAMO'')

       mediante el cual se cbncedi6 a la AUTORIDAD una LfNEA DE CREDITO no rotativa por




                                                                                    AAFAF_CONF_0003801
Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                         Desc:
                       Monolines Ex. 47 Page 23 of 86
                                                       2


       la suma maxim.a de CUARENTA Y NUEVE MILLONES TRESCIBNTOS VEINTICINCO

       MIL DOLARES ($49,325,000). En la. misma fecha de otorgamiento del CONTRATO DE

       PRESTAMO, la AUTORIDAD suscribi6 un PAGARE por la suma. de $49,325,000 a la orden

       del BANCO y con vendmiento el 31 de enero de 2013,

                 POR CUANTO:        El 28 de febrero de 2012, el BANCO y la AUTORIDAD

       suscribieron una Primer Enmienda a Contrato de Prestamo a los fines de autorizar un

       desembolso con cargo a la LiNEA DE CREDITO por la cantidad de Dos Millones

       Trescientos Veintisiete Mil Ochenta y Cuatro D61ares con Cuarenta y Seis Centavos

        ($2,327,084,46) para el pago de una ·deuda con el Munidpio de Guaynabo reladonada al

        proyecto Puente Periferal Sur.

                 POR CUANTO: El 12 de junio de 2012 las partes suscribieron una Segunda

       Erunienda a Contrato de Prestamo a los fines de reprogramar los fondos de la L1NEA DE

       CREDITO para el pago parcial de la reclamad6n relacionada con la construcci6n del

        Expreso Marlfuez Nadal de la AUTORIDAD con el Municipio de Guaynabo por Dos

        Millones Tresdentos Setenta y Cuatro Mil Tresdentos Veintiseis D6lares con Tres Centavos

        ($2,374,326.03).

                 POR CUANTO: La Junta de Directores del BANCO ha autorizado un desembolso

        con cargo a la LiNEA DE CREDITO para saldar la redamaci6n reladonada con la

        construcci6n del Expreso Martinez Nadal de la AUTORIDAD con el Munidpio de

        Guaynabo por Dos Millones Tresdentos Veintisiete Mil Ochenta y Cuatro D61ares con

        Cuarenta y Seis Centavos ($2,327,084.46), segun los terminos y condidones aprobados en Ia

        Resoluci6n Num. 9800 adoptada en reuni6n celebrada el 20 de junio de 2012, y certificada

        por la Secretaria de dicha Junta, la Leda. Zulema E. Martinez Alvarez el 3 de julio de 2012.


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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                     Desc:
                       Monolines Ex. 47 Page 24 of 86
                                          3

                POR LO TANTO# en consideraci6n a los hechos afumados anteriormente, y a las

       representaciones, acuerdos y garantias que mas adelante se exponen, las partes

       comparecientes:

                                        ACUERDAN Y CONVIENEN

                PRIMERO:      Se enmienda 1a Secci6n 1.1 del Art:iculo 1 del CONTRATO DE

       PRESTAMO para que lea como sigue:

                "Una vez se otorguen y suscriban los DOCUMENTOS LEGALES que se
                relacionan en el Articulo 4.1 de este CONTRATO DE PRESTAMO, el BANCO
                extendera a la AUTORIDAD una LfNEA DE CREDITO no rotatoria por la
                cantidad maxima de principal de CUARENTA Y NUEVE MILLONFS
                TRESCIENTOS VEINTICINCO MIL D6LARES ($49,325,000), mas intereses
                capitalizados. La AUTORIDAD utilizara este total autorizado para firumdar su
                Programa de Mejoras Capitales del primer semestre del Mo Fiscal 2012, asi
                como tambien efectuar el pa.go de la deuda correspondiente al proyecto Puente
                Periferal Sur por la canti.dad de $2,327,084.46 y el pago de $4,701,410.49
                correspondiente a la reclamad6n relacionada con la construcd6n del Expreso
                Martinez Nadal, ambos a favor del Municipio de Guaynabo.

                La L1NEA DE CREDITO esta evidenciada por m1 PAGARE por la misma
                cantidad autorizada a trav~s del CONTRATO DE PRESTAMO, suscrito en la
                misma fecha y pagadero a la orden del BANCO.

                Los fondos provenientes de la LfNEA DE CREDITO se utilizaran para
                finandar determinados proyectos del PMC de la AUTORIDAD durante el
                primer semestre del Mo Fiscal 2012, para el pago de las deudas a favor del
                Munidpio de Guaynabo correspondientes al proyecto Puente Periferal Surya
                1a redamad6n relacionada con el Expreso Marlinez Nadal. La AUTORIDAD
                se compromete y acuerda que cualquier modificaci6n o enmienda al PMC,
                debera ser previamente noti.ficado por escrito al BANCO."

                SEGUNDO: Las partes hacen constar que la AUfORIDAD ha dado cwnplimiento a

        las disposidones estableddas en las Secdones 1.1 y 2.1 (a) del CONTRATO DE PRESTAMO

        mediante la notificaci6n de la certificaci6n requerida.

                TERCERO: El BANCO y la AUTORIDAD hacen constar expresamente que esta

        enmienda no constituye una novad6n de Ia obligad6n original. Todos los demas terminos y


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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                 Desc:
                       Monolines Ex. 47 Page 25 of 86
                                                    4


       condidones de! CONTRATO DE PRESTAMO, segun enmendado, y el PAGARE otorgados

       el 29 de noviembre de 2011, no inconsistentes con esta Tercera Enmienda a Contrato de

       Pr~stamo, continuaran en pleno efecto y vigor.

               CUARTO: La AUTORIDAD se compromete a presentar, en un termino de diez

       (10) dfas posterior a la otorgad6n de esta Tercera Enmienda a Conb.'ato de Pr~stamo, la

       identificad6n y eliminaci6n de proyectos del PMC para compensar el efecto del pago a

       realizarse sin tener que aumentar el balance aprobado de la LiNEA DE CREDITO.

                               [Firmas Aparecen en la Pr6xima Pagina.]




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                         Desc:
                       Monolines Ex. 47 Page 26 of 86
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                EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

        TERCERA ENMIENDA A CONTRATO DE PRESTAMO, en San Juan, Puerto Rico, a 6

        de julio de 2012.

        BANCO GUBBRNAMENTAL DE                       AUTORIDAD DE CARRETERAS Y
        FOMENTO PARA PUE TO RICO                     TRANSPORTACI6N DE PUERTO RICO



        Jose                                          Ru n A. Hernandez Gregorat
        Vic                 uti.vo                    Director Ejecutivo, y Secretario del
        yD                  nzas                      Departamento de Transportaci6n
                                                      y Obras Publicas de Puerto Rico

        Testimonio .38'8

              Reconocido y suscrito ante :mi por Ruben A. Hernandez Gregorat, mayor de edad,
        casado, ejecutivo y vecino de San Juan, Puerto Rico, en su cariicter de Director Ejecutivo de la
        Autoridad de Carreteras y Transportaci6n de Puerto Rico y Secretario del Departamento de
        Trasportad6n y Obras Publicas de Puerto Rico, a quien conozco personalmente.

                En San Juan, Puerto Rico, a     ~~:_::_;;;::   2.

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               Reconocido y suscrito          ...__,_  . Otero Freirla, mayor de edad, casado,
        ejecutivo y vecino de Dorado, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y
        Director de F:inanciamiento del Banco Gubemamental de Fomento para Puerto Rico, a quien
        conozco personalmente.

                En San Juan, Puerto Rico, a _L de julio de 2012.




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47               Desc:
                       Monolines Ex. 47 Page 27 of 86


                       CUARTA ENMIENDA A CONTRATO DE PRESTAMO

                                           COMPARECEN

               DE LA PRIMERA PARTE:          El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la Ley

       Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el "BANCO"),

       representado en este acto por Ian J. Figueroa Toro, Vicepresidente Ejecutivo y Director de

       Financiamiento, mayor de edad, casado, ejecutivo y residente de San Juan, Puerto Rico.

               DE   LA   SEGUNDA       P ARTE:    La   AUTORIDAD        DE    CARRETERAS        Y

       TRANSPORTACION DE PUERTO RICO, una entidad juridica creada en virtud de la

       Ley Num. 74 de 23 de junio de 1965, segun enmendada, (la" AUTORIDAD") representada

       en este acto por Javier E. Ramos Hernandez, Director Ejecutivo de la AUTORIDAD, mayor

       de edad, casado, ingeniero y vecino de Bayamon, Puerto Rico.

               A menos que un termino escrito en letras mayusculas sea definido de otra forma en

       esta CUARTA ENMIENDA AL CONTRATO DE PRESTAMO, el mismo tendra el

       significado adscrito en el CONTRATO DE PRESTAMO segun se define mas adelante.

                                              EXPONEN

               POR CU ANTO: El 16 de noviembre de 2011, la Junta de Directores del BANCO

       aprob6 la Resoluci6n Num. 9655 para conceder a la AUTORIDAD una linea de credito para

       financiar el Programa de Mejoras Capitales ("PMC") durante el primer semestre del Ano

       Fiscal 2012. De conformidad con lo anterior, el 29 de noviembre de 2011, la AUTORIDAD y

       el BANCO suscribieron un Contrato de Prestamo (el "CONTRATO DE PRESTAMO")

       mediante el cual se concedi6 a la AUTORIDAD una LINEA DE CREDITO no rotativa por

       la suma maxima de CUARENTA Y NUEVE MILLONES TRESCIENTOS VEINTICINCO

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         Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47          Desc:
                                Monolines Ex. 47 Page 28 of 86


                MIL DOLARFS ($49,325,000). En la misma fecha de otorgamiento del CONTRATO DE

                PRESTAMO, la AUTORIDAD suscribi6 un PAGARE por la suma de $49,325,000 a la

                orden del BANCO y con vencimiento el 31 de enero de 2013.

                        POR CUANTO:          El 28 de febrero de 2012, el BANCO y la AUTORIDAD

                suscribieron una Primera Enmienda a Contrato de Prestamo para autorizar un

                desembolso con cargo a la LINEA DE CREDITO por la cantidad de $2,327,084.46 para el

                pago de una deuda con el Municipio de Guaynabo relacionada al proyecto Puente

                Periferal Sur.

                        POR CUANTO: El 12 de junio de 2012 las partes suscribieron una Segunda

                Enmienda a Contrato de Prestamo a los fines de reprogramar los fondos de la LINEA DE

                CREDITO para el pago parcial de la reclamaci6n relacionada con la construcci6n del

                Expreso Martinez Nadal de la AUTORIDAD con el Municipio de Guaynabo por una

                cantidad de $2,374,326.03.

                        POR CUANTO:          La AUTORIDAD y el BANCO suscribieron una Tercera

                Enmienda a Contrato de Prestamo, efectiva al 9 de julio de 2012, para desembolsar con

                cargo a la LINEA DE CREDITO un monto de $2,327,084.46 para saldar la reclamaci6n del

                Municipio de Guaynabo hacia la AUTORIDAD en relaci6n con la construcci6n del

                Expreso Martinez Nadal.

                        POR CUANTO: Al 31 de diciembre de 2012, el balance de principal de la

                LINEA DE CREDITO asciende a $48,954,158.56 con intereses acumulados por la

                cantidad de $1,314,698.54.

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                        POR CUANTO:       La gerencia del BANCO ha recomendado enmendar la

                LINEA DE CREDITO con el prop6sito de extender el vencimiento y el repago de

                intereses acumulados hasta el 31 de enero de 2014.

                        POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante la

                Resoluci6n N-um. 9955 adoptada en reuni6n celebrada el 17 de enero de 2013,

                enmendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de

                vencimiento hasta el 31 de enero de 2014 y establecer el pago de honorarios por

                asesorfa financiera, entre otros terminos y condiciones.

                        POR CUANTO: De conformidad con la Resoluci6n Num. 2013-08 emitida el

                31 de enero de 2013 por Miguel A. Torres Dias, Secretario del Departamento de

                Transportaci6n y Obras Publicas del Puerto Rico, la AUTORIDAD ha aceptado l<:>s

                terminos y condiciones establecidos por el BANCO para la presente enmienda.

                        POR LO TANTO, en consideraci6n a los hechos afirmados anteriormente, ya las

                representaciones, acuerdos y garantias que mas adelante se exponen, las partes

                comparecientes:

                                            ACUERDAN Y CONVIENEN

                        PRIMERO: Se enmienda la primera orad6n de la Secci6n 1.3 del Articulo 1

                del CONTRATO DE PREST AMO para que lea como sigue:

                        "El principal de la LINEA DE CREDITO mas los intereses capitalizados
                        seran pagaderos el 31 de enero de 2014."


                        SEGUNDO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO
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                parte del uno por ciento (1 %), para un total de Diecinueve Mil Setecientos Treinta

                D6lares ($19,730) correspondientes a esta transacci6n y segun la polftica vigente del

                BANCO.

                        CUARTO:      En esta misma fecha, la AUTORIDAD suscribe y otorga un

                documento titulado PRIMERA ENMIENDA A PAGARE (" ALLONGE").                          Este

                ALLONGE se hara formar parte del PAGARE original suscrito por la AUTORIDAD,

                con el prop6sito de incorporar los acuerdos y enmiendas aqui consignadas.

                        QUINTO: Esta CUARTA ENMIENDA AL CONTRATO DE PRESTAMO y su

                ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

                CONTRATO DE PRESTAMO y PAGARE, segun aqui enmendados. Todos los demas

                terminos y condiciones y del CONTRATO DE PRESTAMO y el PAGARE que no

                contravengan lo aqui acordado, permaneceran inalteradas yen pleno vigor.

                        SEXTO:    Esta CUARTA ENMIENDA AL CONTRATO DE PRESTAMO se

                suscribe de conformidad con la Resoluci6n 9955 adoptada por la Junta de Directores del

                BANCO el 17 de enero de 2013, la cual se aprob6 como una declaraci6n de intenci6n

                bajo la Secci6n 1.150-2 de la regulaci6n del Departamento del Tesoro Federal (U.S.

                Treasury Department Regu/,ation Section 1.150-2).

                                                [FIRMAS A CONTINUACI6N]




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                         EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

                 PRIMERA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico,

                a -12_ de marzo de 2013.

                 BANCO GUBERNAMENTAL DE                      AUTORIDAD DE CARRETERAS Y
                 FOMENTO PARA PUERTO RICO                    TRANSPORTACION DE PUERTO RICO



                 I
                                          tivo               Director Ejecutivo
                y Direc r e manzas

                 Testimonio-::::/-8.5
                        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
                 casado, ingeniero y vecino de Bayam6n, Puerto Rico, en su caracter como Director Ejecutivo
                 de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
                 personalmente.

                                             to Rico, a J2._ de marzo de 2013.




                                                 EXENTO DEL PAGO DE ARANCEL
                                                  LEY 47 DE 4 DE JUNIO DE 1982

                 Testimonio    "3J.:3..
                       Reconocido y suscrito ante mi por Ian J. Figueroa Toro, mayor de edad, casado y
                vecino de San Juan, Puerto Rico, en su caracter de Vicepresidente Ejecutivo y Director de
                Financiamiento del Banco Gubemamental de Fomento para Puerto Rico, a quien conozco
                personalmente.




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                             QUINTA ENMIENDA A CONTRATO DE PRESTAMO

                                                 COMPARECEN

                      DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

              PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la

              Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enmendada, (el /;BANCO"),

               representado en este acto por Jorge A. Oivilles Diaz, Agente Fiscal, mayor de edad,

              casado y residente de San Juan, Puerto Rico.

                      DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

              TRANSPORTAO0N DE PUERTO RICO, una entidad juridica creada en virtud de la

               Ley Num. 74 de 23 de junio de 1965, segun enmendada, (la "AUTORIDAD")

              representada en este acto por Javier E. Ramos Hernandez, Director Ejecutivo de la

               AUT0RIDAD, mayor de edad, casado, ingeniero y vecino de Bayamon, Puerto Rico.

                      A menos que un termino escrito en letras mayusculas sea definido de otra forma

              en esta QUINTA ENMIENDA A C0NTRATO DE PRESTAMO, el mismo tendra el

              significado adscrito en el CONTRATO DE PRESTAMO, segun se define mas adelante.

                                                    EXPONEN

                      POR CUANTO: El 16 de noviembre de 2011, la Junta de Directores del BANCO

              aprob6 la Resoluci6n Num. 9655 para conceder a la AUTORIDAD una linea de credito

              para financiar el Programa de Mejoras Capitales ("PMC") durante el primer semestre

              del Afio Fiscal 2012. De conformidad con lo anterior, el 29 de noviembre de 2011, la

              AUT0RIDAD y el BANCO suscribieron un Contrato de Prestamo (el "C0NTRATO DE

              PRESTAM0'1 ) mediante el cual se concedi6 a la AUT0RIDAD una LINEA DE


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              CREDITO no rotativa por la suma maxima de CUARENTA Y NUEVE :MILLONES

              TRESCIENTOS VEINTICINCO :MIL DOLARES ($49,325,000). En la misma fecha de

              otorgamiento del CONTRATO DE PRESTAMO, la AUTORIDAD suscribi6 un

              P AGARE por la suma de $49,325,000 a la orden del BANCO y con vencimiento el 31

               de enero de 2013.

                      POR CUANTO: El 28 de febrero de 2012, el BANCO y la AUTORIDAD

              suscribieron una Primera Enrnienda a Contrato de Prestamo para autorizar un

              desembolso con cargo a la LINEA DE CREDITO por la cantidad de $2,327,084.46

              para el pago de una deuda con el Municipio de Guaynabo relacionada al proyecto

              Puente Periferal Sur.

                      POR CUANTO: El 12 de junio de 2012 las partes suscribieron una Segunda

              Enrnienda a Contrato de Prestamo a los fines de reprogramar los fondos de la LINEA

              DE CREDITO para el pago parcial de la redamaci6n relacionada con la construcci6n

              del Expreso Martinez Nadal de la AUTORIDAD con el Municipio de Guaynabo por

              una cantidad de $2,374,326.03.

                      POR CUANTO:       La AUTORIDAD y el BANCO suscribieron una Tercera

              Enrnienda a Contrato de Prestamo, efectiva al 9 de julio de 2012, para desembolsar

              con cargo a la LINEA DE CREDITO un monto de $2,327,084.46 para saldar la

              reclamaci6n del Municipio de Guaynabo hacia la AUTORIDAD en relaci6n con la

              construcci6n del Expreso Martinez Nadal.




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                      POR CUANTO:          El 13 de marzo de 2013, la AUTORIDAD y el BANCO

              suscribieron una Cuarta Enmienda a Contrato de Prestamo para extender el

              vencimiento y el repago de intereses acumulados hasta el 31 de enero de 2014.

                      POR CUANTO: Al 31 de octubre de 2013, el balance de principal de la

              LINEA DE CREDITO asciende a $49,325,000.00 con intereses acumulados por la

              cantidad de $3,806,291.42.

                      POR CUANTO: La AUTORIDAD ha solicitado, y la gerencia del BANCO ha

              recomendado, enmendar la LINEA DE CREDITO con el prop6sito de extender el

              vencimiento de la misma hasta el 31 de enero de 2015.

                      POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante la

              Resoluci6n Num. 10197 adoptada en reuni6n celebrada el 20 de noviembre de 2013,

              erunendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de

              vencimiento y el repago de intereses acumulados hasta el 31 de enero de 2015 y

              requerir el pago de honorarios por asesoria financiera, entre otros terminos y

              condiciones.

                      POR CUANTO: De conformidad con la Resoluci6n Num. 2014-04 emitida el

              30 de enero de 2014 por la Junta de Directores de la AUTORIDAD, la AUTORIDAD

              ha aceptado los terminos y condiciones establecidos por el BANCO para la presente

              enmienda.

                      POR LO T ANTO, en consideraci6n a los hechos afirmados anteriormente, y a

              las representaciones, acuerdos y garantias que mas adelante se exponen, las partes

              comparecientes:


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                                           ACUERDAN Y CONVIENEN

                      PRIMERO: Se enmienda la primera oraci6n de la Secci6n 1.3 del Articulo 1

              del CONTRATO DE PRESTAMO, segun enmendado, para que lea como sigue:

                      "El principal de la LINEA DE CREDITO mas los intereses capitalizados
                      seran pagaderos el 31 de enero de 2015."

                      SEGUNDO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO

              la cantidad de $19,730.00 por servicios de asesorfa financiera correspondientes a esta

              transacci6n y segun la polftica vigente del BANCO.

                      TERCERO:      En esta misma fecha, la· AUTORIDAD suscribe y otorga un

               documento titulado SEGUNDA ENMIENDA A PAGARE (" ALLONGE").                         Este

               ALLONGE se hara formar parte del PAGARE original suscrito por la AUTORIDAD,

              con el prop6sito de incorporar los acuerdos y enmiendas aquf consignadas.

                      CUARTO: Esta QUINTA ENlVIIENDA A CONTRATO DE PRESTAMO y su

               ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

              CONTRATO DE PRESTAMO y PAGA.RE, segun enmendados. Todos los demas

              terminos y condiciones y del CONTRATO DE PRESTAMO y el PAGARE que no

              contravengan lo aquf acordado, permaneceran inalteradas y en pleno vigor.

                      QUINTO:     Esta QUINTA ENMIENDA A CONTRATO DE PRESTAMO se

              suscribe de conformidad con la Resoluci6n 10197 adoptada por la Junta de Directores

              del BANCO el 20 de noviembre de 2013, la cual se aprob6 como una declaraci6n de

              intenci6n bajo la Secci6n 1.150-2 de la regulaci6n del Departamento del Tesoro Federal

              (U.S. Treasury Department Regulaficm Section 1.150-2).

                                         [FIRMAS EN LA SIGUIENTE PAGINA]

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                    EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

              QUINTA ENMIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico, a

              ~ de enero de 2014.

              BANCO GUBERNAMENTAL DE                AUTORIDAD DE CARRETERAS Y
              FOMENTO PARA PUERTO RICO              TRANSPORTACION DE PUERTO RICO




                                                    Director Ejecutivo


              Testimonio 5'85

                     Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
              casado, ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director
              Ejecutivo de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien
              conozco personalmente.




              Testimonio 5-Seo

                    Reconocido y suscrito ante mi por Jorge A. Oivilles Diaz, mayor de edad,
              casado y vecino de San Juan, Puerto Rico, en su caracter de Agente Fiscal del
              Banco Gubernamental de Fomento para Puerto Rico, a quien conozco personalmente.

                    En San Juan, Puerto Rico, a ~ de enero de 2014.




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                       SEXTA ENMIENDA A CONTRATO DE PRESTAMO

                                          COMPARECEN

               DE LA PRIMERA PARTE: El BANCO GUBERNAMENTAL DE FOMENTO

       PARA PUERTO RICO, una instituci6n bancaria organizada y existente a tenor con la

       Ley Num. 17, aprobada el 23 de septiembre de 1948, segun enrnendada, (el "BANC011 ) 1

       representado en este acto por Jorge A. Oivilles Diaz, Vicepresidente Ejecuti.vo y Agente

       Fiscal del BANCO, mayor de edad, casado, ejecuti.vo y residente de San Juan, Puerto

       Rico.

               DE LA SEGUNDA PARTE: La AUTORIDAD DE CARRETERAS Y

       TRANSPORTACI6N DE PUERTO RICO, una entidad jurfdica creada en virtud de la

       Ley Num. 74 de 23 de .junio de -1965, segdn ertmendada, (la II AUTORIDAD")

       representada en este acto por Carmen A. Villar-Prados, Directora Ejecutiva de la

       AUTORIDAD, mayor de edad, casada, ingeniera y vecina de Guaynabo, Puerto Rico.

               A menos que un termino escrito en letras mayusculas sea definido de ob:a forma

       en esta SEXTA ENMIENDA A CONTRATO DE PRESTAMO, el mismo tendra el

       significado adscrito en el CON1RATO DE PRESTAMO, segun se define mas adelante.

                                             EXPONEN

               POR CUANTO: El 16 de noviembre de 2011, la Junta de Directores del BANCO

       aprob6 la Resoluci6n Num. 9655 para conceder a la AU1ORIDAD una lfnea de credito

       para financiar el_ Programa de Mejoras Capitales ("PMC") durante el primer semestre

       del Afl.o Fiscal 2012. De conforrnidad con lo anterior, el 29 de noviembre de 2011, la

       AUTORIDAD y el BANCO suscribieron un Contrato de Prestamo (el "CONTRATO DE

       PRESTAMO") mediante el cual se concedi6 a la AUTORIDAD una L1NEA DE




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                       Monolines Ex. 47 Page 38 of 86

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        CREDITO no rotativa por la suma maxima de CUARENTA Y NUEVE MILLONFS

        TRESCIENTOS VEINTICINCO MIL DOLARES ($49,325,000). En la misma fecha de

        otorgamiento del CONTRATO DE PRESTAMO,. la AUTORIDAD suscribi6 un

        PAGARE por la suma de $49,325,000 a la orden del BANCO y con vencimiento el 31

        de enero de 2013.

                ~OR CUANTQ: _El 28 de febrero de 2012, el BANCO y la AUTORIDAD

        suscribieron una Primera Enmienda a Contrato de Prestamo para autorizar un

        desembolso con cargo a la LfNEA DE CREDITO por la cantidad de $2,327,084.46

        para el pago de una deuda con el Municipio de Guaynabo relacionada al proyecto

        Puente Periferal Sur.

                POR CUANTO: El 12 de junio de 2012 las partes suscribieron una Segunda

        Enm.ienda a Contrato de Prestamo a los fines de reprogramar los fondos de la L1NEA

        DE CREDITO para el pago parcial de la reclamaci6n relacionada con la construcci6n

        del Expreso Martinez Nadal· de la AUTORIDAD con el Municipio de Guaynabo por

        una cantidad de $2,374,326.03.

                POR CUANTO:       La AUTORIDAD y el BANCO suscribieron una Tercera

        Enmienda a Contrato de Prestamo, efectiva al 9 de julio de 2012, para desembolsar

        con cargo a la LfNEA DE CREDITO un monto de $2,327,084.46 para saldar la

        reclamaci6n del Municipio de Guaynabo hacia la AUTORIDAD en relaci6n con la

        construcci6n del Expreso Martinez Nadal.

                POR CUANTO:       El 13 de marzo de 2013, la AUTORIDAD y el BANCO

        suscribieron una Cuarta Enmienda a Contrato de Prestamo para extender el

        vencimiento y el repago de intereses acumulados hasta el 31 de enero de 2014.

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                       Monolines Ex. 47 Page 39 of 86

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                POR CUANTO:          El 31 de enero de 2014, la AUTORIDAD y el BANCO

        suscribieron una Quinta Enmienda a Contrato de Prestamo para extender el

        vencimiento y el repago de intereses acumulados hasta el 31 de enero de 2015, sujeto

        a ciertos t~rininos y condiciones.

                POR CUANTO: Al 31 de diciembre de 2014, el balance de principal de la

        L1NEA DE CREDITO asciende a $49,325,000.00 con intereses acumulados por la

        cantidad de $7,308,366.39.

                POR CUANTO:          La gerencia del BANCO ha recomendado enmendar el

        CON1RATO DE PRESTAMO, segun enmendado, con el prop6sito de extender el

        vencimiento hasta el 31 de enero de 2016.

                POR CUANTO: La Junta de Directores del BANCO ha autorizado mediante la

        Resoluci6n Num. 10554 adoptada en reuni6n celebrada el 17 de diciembre de 2014,

        enmendar el CONTRATO DE PRESTAMO a los fines de extender la fecha de

        vencimiento y el repago de los intereses acumulados hasta el 31 de enero de 2016 y

        requerir el pago de honorarios por asesoda financiera, entre otros terminos y

        co11.diciones.

                POR CUANTO: De conforrnidad con la Resoluci6n Num. 2015-07 emitida el

        15 de enero de 2015 por la Junta de Directores de la AUTORIDAD, la AUTORIDAD

        ha aceptado los terminos y condiciones establecidos por el BANCO para la presente

        erunienda.

                POR LO TANTO, en consideraci6n a los hechos afirmados anteriormente, ya

        las representadones, acuerdos y garantfas que mas adelante se exponen, las partes

        comparecientes:

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                       Monolines Ex. 47 Page 40 of 86

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                                    ACUERDAN Y CONVIENEN

               PRIMERO: Las partes acuerdan extender la fecha de vencimiento de la

       LfNEA DE CREDITO e incluir los ingresos asignados a la AUTORIDAD bajo las

       Leyes Numero 30 y 31 del 25 de junio de 2013 come fuente de page adicional de la

       obligaci6n. Por .consiguiente, se enmienda la Secci6n 1.3 del Artfculo 1 del

       CONTRATO DE PRESTAMO, segun enmendado, para que lea como sigue:

               "El principal de la LfNEA DE CREDITO mas los intereses capitalizados
               seran pagaderos el 31 de enero de 2016. Lafuente de pago seran futuras
               emisiones de bones y cualesquiera otros fondos disponibles de Ia
               AUTORIDAD, incluyendo los ingresos asignados bajo las Leyes Numero
               30 y 31 <lei 25 de junio de 2013, los cuales estan cedidos y comprometidos a
               favor del BANCO mediante el Assignment and Security Agreement suscrito
               el 28 de agosto de 2013 entre el BANCO y la AUTORIDAD."

               SEGUNDO: El Director Ejecutivo de la AUTORIDAD y el Secretario del

       Departamento de Transportaci6n y Obras Publicas deberan efectuar una presentaci6n a

       la Junta de Directores del BANCO sobre las finanzas de la AUTORIDAD y el progreso

       de la implementaci6n de sus planes a mediano y largo plazo para atender de manera

       expedita y efectiva la situad6n fiscal de la AUTORIDAD, mas alla de los nuevos

       ingresos ya legislados. Esta presentaci6n debera efectuarse previo a que el BANCO

       desembolse cualquier fondo disponible bajo la LfNEA DE CREDITO.

               TERCERO:      En esta mistna fecha, la AUTORIDAD suscribe y otorga un

       documento titulado TERCERA ENMIENDA A PAGARE (" ALLONGE").                             Este

       ALLONGE se hara formar parte del PAGARE original suscrito por la AUTORIDAD,

       con el prop6sito de incorporar los acuerdos y enmiendas aquf consignadas.

               CUARTO: La AUTORIDAD reconoce, conviene y acepta pagar al BANCO la

       cantidad de Diecinueve Mil Setecientos Treinta D6lares ($19,730.00) par servicios de

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                       Monolines Ex. 47 Page 41 of 86
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        asesorfa financiera correspondientes a esta transacci6n y segun la polftica vigente del

        BANCO.

                QUINTO:     Esta SEXTA ENivllENDA A CONTRATO DE PRESTAMO y su

        ALLONGE no constituyen una novaci6n de las obligaciones de la AUTORIDAD bajo el

        CON1RATO DE PRESTAMO y PAGA.RE, segun enmendados. Todos los demas

        terminos y condiciones y del CONTRATO DE PRESTAMO y el PAGARE que no

        contravengan lo aquf acordado, permaneceran inalteradas yen pleno vigor.

                SEXTO:    El   Presidente    del   BANCO,         el   Vicepresidente   Ejecuti.vo   de

        Financiamiento o cualquier otro vicepresidente ejecutivo, podra canalizar los recursos e

        ingresos de la AUTQRIDAD correspondientes a las Leyes 30 y 31 del 25 de junio de

        2013 para el repago de los financiamientos vigentes y cualquiera otras cantidades que el

        BANCO cobre por concepto de obligaciones pendientes de la AUTORIDAD.

                SEPTIMO:       Esta SEXTA ENMIENDA A CONTRATO DE PRESTAMO se

        suscribe de conformidad con la Resoluci6n 10554 adoptada por la Junta de Directores

        del BANCO el 17 de diciembre de 2014, la cual se aprob6 como una declaraci6n de

        intenci6n bajo la Secci6n 1.150-2 de la regulaci6n del Departamento del Tesoro Federal

        (U.S. TreasurtJ Department Regulation Section 1.150-2).

                                   [FIRMAS EN LA SIGUIENTE PAGINA]




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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47                Desc:
                       Monolines Ex. 47 Page 42 of 86
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                EN TESTIMONIO DE LO CUAL, las partes comparecientes otorgan esta

       SEXTA EMviIENDA A CONTRATO DE PRESTAMO en San Juan, Puerto Rico, a o2 0

        de mayo de 2015.

        BANCO GUBERNAMENT AL DE                        AUTORIDAD DE CARRETERAS Y
        FOMENTO PARA PUERTO RICO                       TRANSPORTAC I6N DE PUERTO RICO




                                                ~dl{d o/Y
                                                       Carmen A. Villar-Prados
        Vicepresidente Ejecutivo y                     Directora Ejecutiva
         Agente Fiscal


        Testimonio ~

                Reconocido y suscrito ante mf por Carmen A. Villar-Prados mayor de edad,
        casada, ingeniera y vecina de Guaynabo, Puerto Rico, en su caracter como Directora
        Ejecutiva de la Autoridad de Carreteras y Transportaci6n de Puerto Rico y por Jorge A.
        Clivilles Diaz, mayor de edad, casado, ejecutivo y vecino de San Juan, Puerto Rico, en
        su caracter de Vicepresidente Ejecutivo y Agente Fiscal del Banco Gubernamental de
        Fomento para Puerto Rico, a quienes conozco personalmente.

                En San Juan, Puerto Rico, a .;J.o de mayo de 2015.



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Case:17-03283-LTS Doc#:18815-5 Filed:10/27/21 Entered:10/27/21 09:09:47   Desc:
                       Monolines Ex. 47 Page 43 of 86




                     Certified Translation
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          44 of
                                                              4494
                                                                 of 86




                                                        LOAN AGREEMENT

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT DEVELOPMENT

             BANK, a banking institution organized and existing in accordance with Law No. 17, approved on

             September 23, 1948, as amended (the “BANK”), hereby represented by its Executive Vice President and

             Fiscal Agent, Juan M. Roman, of legal age, married, executive and resident of Guaynabo, Puerto Rico.

                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Ruben A. Hernandez Gregorat, Executive

             Director of the Authority and Secretary of the Department of Transportation and Public Works, of legal

             age, married, engineer and resident of Guaynabo, Puerto Rico.




[initials]                                             THE PARTIES STATE

                     WHEREAS: The AUTHORITY is interested in obtaining financing to pay for its Capital

             Improvements Program (PMC) for the first half of fiscal year 2012. This request formed part of the

             financing application made by the AUTHORITY to the BANK in September 2011 to finance its PMC,

             pay for the conversion to the Highway System on PR-22 and PR-5 and to cover certain operational

             expenses for the first half of fiscal year 2012.

                     WHEREAS: Through Resolution 9624 of September 21, 2011 (Resolution 9624), the BANK

             authorized the concession of a line of credit for $71,119,589 only to provide the funds necessary to cover




             Doc. 27897
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          45 of
                                                              4594
                                                                 of 86


             the conversion to the Highway System on PR-22 and PR-5 and certain operational expenses for the first

             half of fiscal year 2012, evidenced through the Loan Agreement and its respective Promissory Note,

             subscribed by the BANK and the AUTHORITY on October 27, 2011. The approval of the remainder of

             the financing, which is intended to cover the costs of the first half of fiscal year 2012 of the PMC, was

             conditioned on the results of the evaluation and validation of the PMC by an outside specialized

             consulting firm, as provided by Resolution 9624.

                     WHEREAS: The BANK, through PG Engineering Solutions, PSC, an outside consulting firm,

             evaluated and validate the PMC for the first half of fiscal year 2012, which allowed for confirming the

             need for the financing by the AUTHORITY.

[initials]           WHEREAS: By virtue of the foregoing, on November 16, 2011, the Board of Directors of the

             BANK approved Resolution No. 9655 (Resolution 9655) to grant the AUTHORITY a non-rotating line of

             credit for the maximum amount of FORTY-NINE MILLION, THREE HUNDRED TWENTY-FIVE

             THOUSAND DOLLARS ($49,325,000) to finance the PMC during the first half of fiscal year 2012.

                     WHEREAS: The AUTHORITY, through Resolution 2011-70 adopted by the Secretary of

             Transportation and Public Works and Executive Director of the AUTHORITY on November 22, 2011,

             accepted the terms and conditions established by the BANK through Resolution 9655, and authorized the

             execution and granting of the legal documents necessary to evidence the financing.

                     THEREFORE, in consideration of the facts affirmed above, which the parties state are true and
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          46 of
                                                              4694
                                                                 of 86


             accept as an integral part of this LOAN AGREEMENT, and the representations, agreements and

             guarantees presented hereinafter, the appearing parties agree to grant this Loan Agreement.



                                                            ARTICLE 1.

                                                               LOAN

             1.1     Line of Credit:

                     Once the LEGAL DOCUMENTS listed in Article 4.1 of this LOAN AGREEMENT have been

             granted and signed, the BANK shall issue the AUTHORITY a non-rotating LINE OF CREDIT for the

             maximum principal amount of FORTY-NINE MILLION, THREE HUNDRED TWENTY-FIVE

             THOUSAND DOLLARS ($49,325,000), plus capitalized interest. The AUTHORITY shall utilize this

             authorized total to finance its Capital Improvements Program for the first half of fiscal year 2012.

[initials]           The LINE OF CREDIT shall be evidenced by a PROMISSORY NOTE for the same amount,

             authorized through this LOAN AGREEMENT, subscribed on the same date and payable to the BANK.

                     The funds originating from the LINE OF CREDIT shall be utilized to finance certain PMC

             projects of the AUTHORITY during the first half of fiscal year 2012. The AUTHORITY undertakes and

             agrees that any modification or amendment to the PMC must be previously notified in writing to the

             BANK.
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          47 of
                                                              4794
                                                                 of 86


             1.2     Interest Rate:

                     The AUTHORITY agrees that the LINE OF CREDIT shall accrue daily interest computed based

             on the current principal balance of this LINE OF CREDIT, calculated on an actual/360 basis, according to

             the preferred floating Prime Rate interest rate, as determined by the BANK, plus a differential of one

             hundred fifty (150) basis points. The interest rate that shall apply to this LINE OF CREDIT shall not be

             less than six percent (6%). The BANK may periodically review the basis, margin and periodicity of the

             interest rate, as it deems necessary and according to the interest rate market. The interest rate shall vary

             according to the variation of the preferred floating Prime Rate interest rate.

                     The interest on the LINE OF CREDIT shall be payable at maturity or on a previous date, if it is

             paid off before.

[initials]           If on the maturity date of the repayment obligation, the AUTHORITY has not paid the

             outstanding principal balance, the AUTHORITY shall pay interest on said amount computed based on

             two hundred (200) basis points on the rate that would apply to it under this LOAN AGREEMENT.

             1.3     Term and Source of Payment:

                     The principal of the LINE OF CREDIT plus capitalized interest shall be payable on January 31,

             2013. The source of payment shall be future issuances of bonds and any other available funds of the

             AUTHORITY.

             1.4     Disbursements:

                     The AUTHORITY must request the disbursements in writing, three (3) business days in advance.

             The disbursement request shall include a certification form (notice of drawing) similar to Annex A of this
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          48 of
                                                              4894
                                                                 of 86


             Agreement, in which the Executive Director of the AUTHORITY, or the person he or she delegates, shall

             certify the need for the funds and the justification for their use. The AUTHORITY must also include any

             other documentation that the BANK, at its full discretion, requests from it prior to the disbursement,

             including but not limited to copies of invoices.

                      The disbursements under this financing shall be subject to the certification that must be issued by

             the Fiscal Agency of the BANK on the compliance by the AUTHORITY with the terms and conditions

             stipulated in the Fiscal Oversight Agreement (FOA) that the AUTHORITY has in force with the BANK,

             as well as with the terms and conditions of any other loan agreement in force with the BANK, or that has

             not been satisfied in full. Likewise, the AUTHORITY acknowledges and accepts that the disbursements

             shall be conditioned on the compliance by the AUTHORITY with the delivery or presentation of

             information or documents required by the BANK, in relation to an issuance of bonds that is currently

             worked on, so that said transaction is not delayed.

[initials]
                                                            ARTICLE 2.

                                                 AFFIRMATIVE AGREEMENTS



             2.1      Other Conditions:

                      The AUTHORITY agrees:

                   (a) To notify the BANK, through certification, of any change in its Capital Improvements Program
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          49 of
                                                              4994
                                                                 of 86


                       for the first half of fiscal year 2012 or any event that alters or modifies the list of projects

                       presented to the BANK during the financing request;

                   (b) Send, on a quarterly basis, a record that includes the list of projects under the PMC, the changes

                       or modifications to said projects, the disbursements made and the available balance of funds for

                       each project;

                   (c) Pay the BANK the sum of TWENTY-FOUR THOUSAND, SIX HUNDRED SIXTY-TWO

                       DOLLARS AND FIFTY CENTS ($24,662.50) (corresponding to 1/20 of 1%), as financial

                       advisory fees corresponding to this transaction, according to the policy in force at the BANK,

                       which may be included as part of this financing, if necessary.

                   (d) Promptly send the request for financing for the PMC for the second half of fiscal year 2012.

                       This LOAN AGREEMENT is granted as an official declaration of intent under the regulation of

             the Department of Treasury of the United States, Section 1.150-2.

                       The BANK reserves the right to request from the AUTHORITY any additional information

             necessary to issue the disbursements or for any purpose related to this LOAN AGREEMENT or

             PROMISSORY NOTE.

             2.2       Grounds for Noncompliance:

[initials]             The BANK reserves the right to cancel the LINE OF CREDIT for deviations from the purposes
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          50 of
                                                              5094
                                                                 of 86


             of the LINE OF CREDIT, from compliance with the Financial Oversight Agreement and all other

             requirements established in this LOAN AGREEMENT, or from the disbursement procedures of the

             BANK.

                     The AUTHORITY shall notify the BANK of any condition, fact or event that may constitute

             grounds for noncompliance or by virtue of whose notification or the mere passage of time, or both, may

             constitute grounds for noncompliance, sending the BANK a certification signed by one of its officials,

             specifying the nature of said grounds, how long they have existed, and what course of action the

             AUTHORITY proposes to initiate with respect to the same. Said notification must be sent to the BANK

             within ten (10) days following the occurrence of the noncompliance.

             2.3     Payment of Extrajudicial Collection Procedures, Fees, Expenses, etc.:

                     At the request of the BANK, the AUTHORITY must promptly reimburse the BANK for the

             payment of the costs, expenses and attorneys’ fees incurred by the BANK in extrajudicial collection

             procedures of any period in arrears in relation to the LINE OF CREDIT owed by the AUTHORITY. The

             failure by the AUTHORITY to reimburse said costs, expenses and attorneys’ fees shall constitute grounds

             for noncompliance with the LINE OF CREDIT.

                     Said costs, expenses and attorneys’ fees incurred by the BANK in accordance with the provisions

             of this LOAN AGREEMENT shall be reimbursed by the AUTHORITY immediately upon being
[initials]
             requested.

             2.3     Noncompliance under the Legal Documents:

                     The AUTHORITY agrees that any noncompliance with the terms of the PROMISSORY NOTE

             and/or letter of commitment shall be simultaneously considered a noncompliance with this LOAN
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          51 of
                                                              5194
                                                                 of 86


             AGREEMENT and vice versa, and if the same occurs, the BANK shall immediately have the right to

             enforce any of the rights and privileges that may be conferred by any of the LEGAL DOCUMENTS.

             2.4    Authorization to Borrow:

                    The AUTHORITY has taken the measures that are appropriate and necessary, official or

             unofficial, to authorize the granting and delivery of the LEGAL DOCUMENTS without any limitation.



                                                           ARTICLE 3.

                                                      NONCOMPLIANCE

             3.1    Grounds for Noncompliance:

                    Each one of the following shall constitute grounds for noncompliance under the terms of this

             LOAN AGREEMENT:

                    3.1.1   if any representation given or issued by the AUTHORITY to the BANK in any of the

                            procedures and LEGAL DOCUMENTS, or if any report, guarantee or financial or other
[initials]
                            type of certificate provided to the BANK in relation to this LOAN AGREEMENT is false

                            or misleading;

                    3.1.2   the failure to pay the principal and interest and their penalties, if any, of the LINE OF

                            CREDIT on its maturity date, according to the terms of any of the LEGAL

                            DOCUMENTS;
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          52 of
                                                              5294
                                                                 of 86


                    3.1.3   noncompliance or violation by the AUTHORITY of any of the terms, clauses and

                            conditions agreed to with the BANK under Articles 1 and 2 of this LOAN

                            AGREEMENT; or

                    3.1.4   the failure by the AUTHORITY to remediate or correct, within a period of thirty (30)

                            days of its occurrence, without prior notification by the BANK, any noncompliance with

                            the terms, clauses and conditions of this LOAN AGREEMENT. This does not apply to

                            the terms and conditions related to the payment obligations of the LINE OF CREDIT,

                            given that the AUTHORITY must strictly comply with said payment at its maturity.

             3.2    Remedies:

                    Based on the occurrence of any of the grounds for noncompliance listed in Article 3.1 of this

             LOAN AGREEMENT, and if said noncompliance is not corrected or remedied as established, without it

             being necessary to send any notification of the noncompliance, whose rights the AUTHORITY hereby

             waives through this granting, the BANK may:

                    3.2.1   proceed to claim the payment of the outstanding balance of the LINE OF CREDIT;

                    3.2.2   file a legal proceeding requesting specific compliance with any term, clause or condition

                            of any of the LEGAL DOCUMENTS, or a temporary or permanent injunction to prevent
[initials]
                            the AUTHORITY from violating any of said terms, clauses and conditions; or
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          53 of
                                                              5394
                                                                 of 86


                     3.2.3   exercise any other remedy to which it is entitled under the laws of the Free Associated

                             State of Puerto Rico.

                     The AUTHORITY authorizes the BANK and confers it the power, without the requirement of

             any notification, to apply the right to offset the obligations that arise from this LOAN AGREEMENT,

             making any application of payments of any sum of money belonging to the AUTHORITY in the

             possession of the BANK for the payment of the LINE OF CREDIT and accumulated interest, in the event

             of noncompliance by the AUTHORITY with its payment obligations under the LOAN AGREEMENT.



                                                           ARTICLE 4.

                                               MISCELLANEOUS PROVISIONS

             4.1     Legal Documents:

                     As utilized in this LOAN AGREEMENT, the term LEGAL DOCUMENTS refers to:

                     1. PROMISSORY NOTE

                     2. LOAN AGREEMENT

             4.2     Waivers, Reliefs, Extensions, Tolerances and Additional Remedies:

                     No delay by the BANK or any holder or owner of the PROMISSORY NOTE in the exercise of

             any right, faculty or remedy that may be in accordance with the terms of any of the LEGAL

             DOCUMENTS shall be considered a waiver, limitation or reduction of the same, nor shall the partial or

[initials]   exclusive exercise of any of the same be an obstacle for them to subsequently be exercised in full,
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          54 of
                                                              5494
                                                                 of 86


             including but not limited to the offset right. The remedies in favor of the BANK established in the

             LEGAL DOCUMENTS shall be considered additional to, and not exclusive of, any other remedy

             established by law. For any relief, extension or tolerance issued by the BANK to the AUTHORITY, or

             any amendment to this LOAN AGREEMENT to be effective, it must be signed in writing by an

             authorized official of the BANK, and it must specify the scope of the relief, extension, tolerance or

             amendment granted. Any relief, extension, tolerance or amendment granted shall be valid only for the

             occurrence or eventuality for which it was granted.

             4.4     Addresses for Notifications, etc.:

                     Any notification, claim, directive or any other communication established by the LEGAL

             DOCUMENTS shall be issued in writing and shall be delivered personally or sent via fax or mail, to the

             following addresses:

                     TO THE “AUTHORITY”:

                     Highways and Transportation Authority
                     Department of Transportation and Public Works
                     P.O. Box 42007
                     San Juan, Puerto Rico 00940-2007
                     (787) 721-8787

                     Attention: Executive Director

                     TO THE “BANK”:
[initials]
                     Puerto Rico Government Development Bank
                     P.O. Box 42001
                     San Juan, Puerto Rico 00940-2001
                     Fax: (787) 721-1443

                     Attention: President
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          55 of
                                                              5594
                                                                 of 86


             or to any other address that the parties indicate through a written notification sent in accordance with this

             Article. These shall be considered consummated once duly stamped and deposited in the mail and sent to

             the mentioned addresses.

             4.5     Successors and Assignees:

                     The pacts and clauses contained herein shall obligate and benefit the parties and their respective

             assignees, executors, administrators, successors and transferees.

             4.6     Waivers by the AUTHORITY of Presentation, Protest, etc.:

                     The AUTHORITY waives any notification of acceptance or demand or request for the fulfillment

             of any prior condition by the BANK, and also waives the rights of presentation, protest, notification of

             protest, payment request, notification of noncompliance or non-payment, relief, commitment, offset,

             transaction, extension, renewal or extension of any contractual right or legal instrument and, in general,

[initials]   any other legal formality.



                                          [SIGNATURES ON THE FOLLOWING PAGE]
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
                                  Filed:10/27/21 Entered:08/26/21
                                                  Entered:10/27/2123:17:48
                                                                   09:09:47 Desc:
                                                                             Desc:
                        Monolines
                           Exhibit Ex.
                                   20 47Page
                                           Page
                                             56 of
                                                 5694
                                                    of 86


IN WITNESS WHEREOF, the appearing parties grant this LOAN AGREEMENT, in San Juan, Puerto

Rico, today, November [hw:] 29, 2011.



PUERTO RICO GOVERNMENT                                  PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                        AND TRANSPORTATION AUTHORITY

[signature]                                             [signature]
Juan M. Roman                                           Ruben A. Hernandez Gregorat
Executive Vice President                                Executive Director and
and Fiscal Agent                                        Secretary, Department of Transportation
                                                        and Public Works of Puerto Rico

Certified Copy [hw:] 413

        Acknowledged and signed before me by Ruben A. Hernandez Gregorat, of legal age, married,
executive and resident of San Juan [hw:] [ILLEGIBLE], Puerto Rico, in his capacity as Executive
Director of the Highways and Transportation Authority of Puerto Rico, and Secretary of the Department
of Transportation and Public Works of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on November [hw:] 29, 2011.

        [stamp:] Zoraya Betancourt Calzada
                 [emblem]                                       [signature]
                 Attorney - Notary                              Notary Public

Certified Copy [hw:] 414

      Acknowledged and signed before me by Juan M. Roman, of legal age, married and resident of
Guaynabo, Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the Puerto Rico
Government Development Bank, whom I know personally.

        In San Juan, Puerto Rico, on November [hw:] 29, 2011.

        [stamp:] Zoraya Betancourt Calzada
                 [emblem]                                       [signature]
                 Attorney - Notary                              Notary Public
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
                                                               Entered:10/27/2123:17:48
                                                                                09:09:47 Desc:
                                                                                          Desc:
                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          57 of
                                                              5794
                                                                 of 86


                                    FIRST AMENDMENT TO THE LOAN AGREEMENT

                                                            BETWEEN

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT DEVELOPMENT

             BANK, a banking institution organized and existing in accordance with Law No. 17, approved on

             September 23, 1948, as amended (the “BANK”), hereby represented by Jose R. Otero Freiria, its

             Executive Vice President and Financing Director, of legal age, married, executive and resident of Dorado,

             Puerto Rico.



                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Ruben A. Hernandez Gregorat, Executive

             Director of the Authority and Secretary of the Department of Transportation and Public Works, of legal

             age, married, engineer and resident of Guaynabo, Puerto Rico.


[initials]
                     Unless a term written in capital letters is defined otherwise in this First Amendment to the Loan

             Agreement (“First Amendment”), it shall have the meaning assigned in the LOAN AGREEMENT, as

             defined hereinafter.




             28175
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
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                                                          58 of
                                                              5894
                                                                 of 86


                                                       THE PARTIES STATE

                     FIRST: On November 16, 2011, the Board of Directors of the BANK approved Resolution No.

             9655 to grant the AUTHORITY a line of credit to finance the Capital Improvements Program (“PMC”)

             during the first half of fiscal year 2012. In accordance with the foregoing, on November 29, 2011, the

             AUTHORITY and the BANK signed a Loan Agreement (the “LOAN AGREEMENT”) through which

             the AUTHORITY was granted a non-rotating LINE OF CREDIT for the maximum amount of FORTY-

             NINE MILLION, THREE HUNDRED TWENTY-FIVE THOUSAND DOLLARS ($49,325,000). On the

             same date as the granting of the LOAN AGREEMENT, the AUTHORITY subscribed a PROMISSORY

             NOTE for the amount of $49,325,000, payable to the BANK and maturing on January 31, 2013.



                     SECOND: The AUTHORITY has asked the BANK for a disbursement from the LINE OF

             CREDIT for the amount of two million, three hundred twenty-seven thousand, eighty-four dollars

             and forty-six cents ($2,327,084.46) for the payment of a debt with the Municipality of Guaynabo related

             to the South Peripheral Bridge project.



                     THIRD: The Board of Directors of the BANK has authorized amending the established use in the

             LOAN AGREEMENT for the purpose of reprogramming funds of the LINE OF CREDIT for the

             payment of the mentioned debt of the AUTHORITY with the Municipality of Guaynabo, according to the
[initials]




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             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
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                                        Exhibit Ex.
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                                                          59 of
                                                              5994
                                                                 of 86


             terms and conditions approved in Resolution No. CE2012-16 adopted in a meeting held on February 10,

             2012 and certified by the Secretary of said Board, Ms. Zulema E. Martinez Alvarez, on February 28,

             2012.



                     THEREFORE, in consideration of the facts affirmed above, and the representations, agreements

             and guarantees presented hereinafter, the appearing parties:



                                                              AGREE

                     FIRST: Section 1.1 of Article 1 of the LOAN AGREEMENT is amended to read as follows:

                     “Once the LEGAL DOCUMENTS listed in Article 4.1 of this LOAN AGREEMENT have been
                     granted and signed, the BANK shall issue the AUTHORITY a non-rotating LINE OF CREDIT
                     for the maximum principal amount of FORTY-NINE MILLION, THREE HUNDRED
                     TWENTY-FIVE THOUSAND DOLLARS ($49,325,000), plus capitalized interest. The
                     AUTHORITY shall utilize this authorized total to finance its Capital Improvements Program for
                     the first half of fiscal year 2012, as well as to make the payment on the debt corresponding to the
                     South Peripheral Bridge project for the amount of $2,327,084.46 in favor of the Municipality of
                     Guaynabo.

                     The LINE OF CREDIT is evidenced by a PROMISSORY NOTE for the same amount authorized
                     through the LOAN AGREEMENT, subscribed on the same date and payable to the BANK.
[initials]
                     The funds originating from the LINE OF CREDIT shall be utilized to finance certain PMC
                     projects of the AUTHORITY during the first half of fiscal year 2012 and for the payment of the
                     debt in favor of the Municipality of Guaynabo corresponding to the South Peripheral Bridge
                     project. The AUTHORITY undertakes and agrees that any modification or amendment to the




             28175
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              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                                          60 of
                                                              6094
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                      PMC must be previously notified in writing to the BANK.”


                      SECOND: The parties state that the AUTHORITY has complied with the provisions established

             in Sections 1.1 and 2.1 (a) of the LOAN AGREEMENT through the notification of the required

             certification.



                      THIRD: All other clauses and conditions of the LOAN AGREEMENT and PROMISSORY

             NOTE shall remain unchanged.




                                         [SIGNATURE PAGE IN CONTINUATION]




[initials]




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 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
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                                             61 of
                                                 6194
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        IN WITNESS WHEREOF, the appearing parties grant this FIRST AMENDMENT TO THE

LOAN AGREEMENT AMENDED AND REPEATED, in San Juan, Puerto Rico, on February [hw:]

28, 2012.



PUERTO RICO GOVERNMENT                                  PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                        AND TRANSPORTATION AUTHORITY

[signature]                                             [signature]
Jose R. Otero Freiria                                   Ruben A. Hernandez Gregorat
Executive Vice President                                Executive Director and
and Finance Director                                    Secretary, Department of Transportation
                                                        and Public Works of Puerto Rico

Certified Copy [hw:] 644

        Acknowledged and signed before me by Ruben A. Hernandez Gregorat, of legal age, married,
executive and resident of San Juan [hw:] [ILLEGIBLE], Puerto Rico, in his capacity as Executive
Director of the Highways and Transportation Authority of Puerto Rico, and Secretary of the Department
of Transportation and Public Works of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on February [hw:] 28, 2012.

        [stamp:] MARGUILEAN RIVERA AMILL
                 [emblem]                                       [signature]
                 ATTORNEY-NOTARY                                Notary Public

Certified Copy [hw:] 645

       Acknowledged and signed before me by Jose R. Otero Freiria, of legal age, married and resident
of Dorado, Puerto Rico, in his capacity as Executive Vice President and Financing Director of the Puerto
Rico Government Development Bank, whom I know personally.

        In San Juan, Puerto Rico, on February [hw:] 28, 2012.

        [stamp:] MARGUILEAN RIVERA AMILL
                 [emblem]                                       [signature]
                 ATTORNEY-NOTARY                                Notary Public




28175
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
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                                        Exhibit Ex.
                                                20 47Page
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                                                          62 of
                                                              6294
                                                                 of 86


                                  SECOND AMENDMENT TO THE LOAN AGREEMENT

                                                            BETWEEN

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT

             DEVELOPMENT BANK, a banking institution organized and existing in accordance with Law No. 17,

             approved on September 23, 1948, as amended (the “BANK”), hereby represented by Jose R. Otero

             Freiria, its Executive Vice President and Financing Director, of legal age, married, executive and resident

             of Dorado, Puerto Rico.

                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Ruben A. Hernandez Gregorat, Executive

             Director of the Authority and Secretary of the Department of Transportation and Public Works, of legal

             age, married, engineer and resident of Guaynabo, Puerto Rico.

                     Unless a term written in capital letters is defined otherwise in this Second Amendment to the

             Loan Agreement (“Second Amendment”), it shall have the meaning assigned in the LOAN

             AGREEMENT, as defined hereinafter.

                                                     THE PARTIES STATE
[initials]
                     FIRST: On November 16, 2011, the Board of Directors of the BANK approved Resolution No.

             9655 to grant the AUTHORITY a line of credit to finance the Capital Improvements Program (“PMC”)

             during the first half of fiscal year 2012. In accordance with the foregoing, on November 29, 2011, the

             AUTHORITY and the BANK signed a Loan Agreement (the “LOAN AGREEMENT”) through which

             the AUTHORITY was granted a non-rotating LINE OF CREDIT for the maximum amount of FORTY-
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
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                                        Exhibit Ex.
                                                20 47Page
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                                                          63 of
                                                              6394
                                                                 of 86


             NINE MILLION, THREE HUNDRED TWENTY-FIVE THOUSAND DOLLARS ($49,325,000). On the

             same date as the granting of the LOAN AGREEMENT, the AUTHORITY subscribed a PROMISSORY

             NOTE for the amount of $49,325,000, payable to the BANK and maturing on January 31, 2013.

                     SECOND: On February 28, 2012, the BANK and the AUTHORITY signed a First Amendment

             to the Loan Agreement for the purpose of authorizing a disbursement from the LINE OF CREDIT for the

             amount of two million, three hundred twenty-seven thousand, eighty-four dollars and forty-six cents

             ($2,327,084.46), for the payment of a debt with the Municipality of Guaynabo related to the South

             Peripheral Bridge project.

                     THIRD: The Executive Committee of the Board of Directors of the BANK has authorized

             amending the use established in the LOAN AGREEMENT for the purpose of reprogramming the funds of

             the LINE OF CREDIT for the partial payment of the claim related to the construction of the Martinez

             Nadal Highway of the AUTHORITY with the Municipality of Guaynabo for two million, three hundred

             seventy-four thousand, three hundred twenty-six dollars and three cents ($2,374,326.03), according to the

             terms and conditions approved in Resolution No. CE2012-47 adopted in the meeting held on June 8, 2012
[initials]
             and certified by the Secretary of said Board, Ms. Zulema E. Martinez Alvarez on June 12, 2012.

                     THEREFORE, in consideration of the facts affirmed above, and the representations, agreements

             and guarantees presented hereinafter, the appearing parties:
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
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                           Exhibit Ex.
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                                             64 of
                                                 6494
                                                    of 86


IN WITNESS WHEREOF, the appearing parties grant this SECOND AMENDMENT TO THE

LOAN AGREEMENT, in San Juan, Puerto Rico, on June [hw:] 12, 2012.

PUERTO RICO GOVERNMENT                                  PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                        AND TRANSPORTATION AUTHORITY

[signature]                                             [signature]
Jose R. Otero Freiria                                   Ruben A. Hernandez Gregorat
Executive Vice President                                Executive Director and
and Finance Director                                    Secretary, Department of Transportation
                                                        and Public Works of Puerto Rico

Certified Copy [hw:] 693

        Acknowledged and signed before me by Ruben A. Hernandez Gregorat, of legal age, married,
executive and resident of San Juan [hw:] [ILLEGIBLE], Puerto Rico, in his capacity as Executive
Director of the Highways and Transportation Authority of Puerto Rico, and Secretary of the Department
of Transportation and Public Works of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on June [hw:] 12, 2012.

        [stamp:] MARGUILEAN RIVERA AMILL
                 [emblem]                                       [signature]
                 ATTORNEY-NOTARY                                Notary Public

Certified Copy [hw:] 694

       Acknowledged and signed before me by Jose R. Otero Freiria, of legal age, married and resident
of Dorado, Puerto Rico, in his capacity as Executive Vice President and Financing Director of the Puerto
Rico Government Development Bank, whom I know personally.

        In San Juan, Puerto Rico, on June [hw:] 12, 2012.

        [stamp:] MARGUILEAN RIVERA AMILL
                 [emblem]                                       [signature]
                 ATTORNEY-NOTARY                                Notary Public
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
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                                        Exhibit Ex.
                                                20 47Page
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                                                          65 of
                                                              6594
                                                                 of 86


                                    THIRD AMENDMENT TO THE LOAN AGREEMENT

                                                            BETWEEN

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT

             DEVELOPMENT BANK, a banking institution organized and existing in accordance with Law No. 17,

             approved on September 23, 1948, as amended (the “BANK”), hereby represented by Jose R. Otero

             Freiria, its Executive Vice President and Financing Director, of legal age, married, executive and resident

             of Dorado, Puerto Rico.

                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Ruben A. Hernandez Gregorat, Executive

             Director of the Authority and Secretary of the Department of Transportation and Public Works, of legal

             age, married, engineer and resident of Guaynabo, Puerto Rico.

                     Unless a term written in capital letters is defined otherwise in this Third Amendment to the Loan

             Agreement (“Third Amendment”), it shall have the meaning assigned in the LOAN AGREEMENT, as

             defined hereinafter.

[initials]                                           THE PARTIES STATE

                     WHEREAS: On November 16, 2011, the Board of Directors of the BANK approved Resolution

             No. 9655 to grant the AUTHORITY a line of credit to finance the Capital Improvements Program

             (“PMC”) during the first half of fiscal year 2012. In accordance with the foregoing, on November 29,

             2011, the AUTHORITY and the BANK signed a Loan Agreement (the “LOAN AGREEMENT”) through

             which the AUTHORITY was granted a non-rotating LINE OF CREDIT for the maximum amount of
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
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                                                          66 of
                                                              6694
                                                                 of 86


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             FORTY-NINE MILLION, THREE HUNDRED TWENTY-FIVE THOUSAND DOLLARS

             ($49,325,000). On the same date as the granting of the LOAN AGREEMENT, the AUTHORITY

             subscribed a PROMISSORY NOTE for the amount of $49,325,000, payable to the BANK and maturing

             on January 31, 2013.

                     WHEREAS: On February 28, 2012, the BANK and the AUTHORITY signed a First

             Amendment to the Loan Agreement for the purpose of authorizing a disbursement from the LINE OF

             CREDIT for the amount of two million, three hundred twenty-seven thousand, eighty-four dollars and

             forty-six cents ($2,327,084.46), for the payment of a debt with the Municipality of Guaynabo related to

             the South Peripheral Bridge project.

                     WHEREAS: On June 12, 2012, the parties signed a Second Amendment to the Loan Agreement

             for the purpose of reprogramming the funds of the LINE OF CREDIT for the partial payment of the

             claim related to the construction of the Martinez Nadal Highway of the AUTHORITY with the

             Municipality of Guaynabo for two million, three hundred seventy-four thousand, three hundred twenty-

             six dollars and three cents ($2,374,326.03).
[initials]           WHEREAS: The Board of Directors of the BANK has authorized a disbursement from the LINE

             OF CREDIT to settle the claim related to the construction of the Martinez Nadal Highway of the

             AUTHORITY with the Municipality of Guaynabo for two million, three hundred twenty-seven thousand,

             eighty-four dollars and forty-six cents ($2,327,084.46), according to the terms and conditions approved in

             Resolution No. 9800 adopted at the meeting held on June 20, 2012 and certified by the Secretary of said

             Board, Ms. Zulema E. Martinez Alvarez on July 3, 2012.




             28744
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                        Exhibit Ex.
                                                20 47Page
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                                                          67 of
                                                              6794
                                                                 of 86


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                      THEREFORE, in consideration of the facts affirmed above, and the representations, agreements

             and guarantees presented hereinafter, the appearing parties:

                                                               AGREE

                      FIRST: Section 1.1 of Article 1 of the LOAN AGREEMENT is amended to read as follows:

                      “Once the LEGAL DOCUMENTS listed in Article 4.1 of this LOAN AGREEMENT have been
                      granted and signed, the BANK shall issue the AUTHORITY a non-rotating LINE OF CREDIT
                      for the maximum principal amount of FORTY-NINE MILLION, THREE HUNDRED
                      TWENTY-FIVE THOUSAND DOLLARS ($49,325,000), plus capitalized interest. The
                      AUTHORITY shall utilize this authorized total to finance its Capital Improvements Program for
                      the first half of fiscal year 2012, as well as to make the payment on the debt corresponding to the
                      South Peripheral Bridge project for the amount of $2,327,084.46 and the payment of
                      $4,701,410.49 corresponding to the claim related to the construction of the Martinez Nadal
                      Highway, both in favor of the Municipality of Guaynabo.

                      The LINE OF CREDIT is evidenced by a PROMISSORY NOTE for the same amount authorized
                      through the LOAN AGREEMENT, subscribed on the same date and payable to the BANK.

                      The funds originating from the LINE OF CREDIT shall be utilized to finance certain PMC
                      projects of the AUTHORITY during the first half of fiscal year 2012, for the payment of the debts
[initials]            in favor of the Municipality of Guaynabo corresponding to the South Peripheral Bridge project
                      and for the claim related to the Martinez Nadal Highway. The AUTHORITY undertakes and
                      agrees that any modification or amendment to the PMC must be previously notified in writing to
                      the BANK.”

                      SECOND: The parties state that the AUTHORITY has complied with the provisions established

             in Sections 1.1 and 2.1 (a) of the LOAN AGREEMENT through the notification of the required

             certification.



                      THIRD: The BANK and the AUTHORITY expressly state that this amendment does not

             constitute a novation of the original obligation. All other terms and conditions of the LOAN




             28744
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                        Exhibit Ex.
                                                20 47Page
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                                                          68 of
                                                              6894
                                                                 of 86


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             AGREEMENT, as amended, and the PROMISSORY NOTE granted on November 29, 2011, not

             inconsistent with this Third Amendment to the Loan Agreement, shall remain in full force and effect.

                     FOURTH: The AUTHORITY undertakes to present, within ten (10) days following the granting

             of this Third Amendment to the Loan Agreement, the identification and elimination of PMC projects to

             offset the effect of the payment to be made without having to increase the approved balance of the LINE

             OF CREDIT.

                                             [Signatures Appear on the Next Page]




[initials]




             28744
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
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                           Exhibit Ex.
                                   20 47Page
                                           Page
                                             69 of
                                                 6994
                                                    of 86


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IN WITNESS WHEREOF, the appearing parties grant this THIRD AMENDMENT TO THE LOAN

AGREEMENT, in San Juan, Puerto Rico, on July 6, 2012.

PUERTO RICO GOVERNMENT                                     PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                           AND TRANSPORTATION AUTHORITY

[signature]                                                [signature]
Jose R. Otero Freiria                                      Ruben A. Hernandez Gregorat
Executive Vice President                                   Executive Director and
and Finance Director                                       Secretary, Department of Transportation
                                                           and Public Works of Puerto Rico

Certified Copy [hw:] 388

        Acknowledged and signed before me by Ruben A. Hernandez Gregorat, of legal age, married,
executive and resident of San Juan [hw:] [ILLEGIBLE], Puerto Rico, in his capacity as Executive
Director of the Highways and Transportation Authority of Puerto Rico, and Secretary of the Department
of Transportation and Public Works of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on July 6, 2012

        [stamp:] BELEN FORNARIS ALFANO
                 [emblem]                                         [signature]
                 PUERTO RICO                                      Notary Public
                 ATTORNEY-NOTARY
        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982

Certified Copy [hw:] 389

       Acknowledged and signed before me by Jose R. Otero Freiria, of legal age, married and resident
of Dorado, Puerto Rico, in his capacity as Executive Vice President and Financing Director of the Puerto
Rico Government Development Bank, whom I know personally.

        In San Juan, Puerto Rico, on July [hw:] 9, 2012.

        [stamp:] BELEN FORNARIS ALFANO
                 [emblem]                                         [signature]
                 PUERTO RICO                                      Notary Public
                 ATTORNEY-NOTARY
        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982


28744
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          70 of
                                                              7094
                                                                 of 86


                                  FOURTH AMENDMENT TO THE LOAN AGREEMENT

                                                           BETWEEN

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT

             DEVELOPMENT BANK, a banking institution organized and existing in accordance with Law No. 17,

             approved on September 23, 1948, as amended (the “BANK”), hereby represented by Ian J. Figueroa Toro,

             Executive Vice President and Financing Director, of legal age, married, executive and resident of San

             Juan, Puerto Rico.

                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Javier E. Ramos Hernandez, Executive

             Director of the Authority, of legal age, married, engineer and resident of Bayamon, Puerto Rico.

                     Unless a term written in capital letters is defined otherwise in this FOURTH AMENDMENT TO

             THE LOAN AGREEMENT, it shall have the meaning assigned in the LOAN AGREEMENT, as defined

             hereinafter.

[initials]                                           THE PARTIES STATE

                     WHEREAS: On November 16, 2011, the Board of Directors of the BANK approved Resolution

             No. 9655 to grant the AUTHORITY a line of credit to finance the Capital Improvements Program

             (“PMC”) during the first half of fiscal year 2012. In accordance with the foregoing, on November 29,

             2011, the AUTHORITY and the BANK signed a Loan Agreement (the “LOAN AGREEMENT”) through

             which the AUTHORITY was granted a non-rotating LINE OF CREDIT for the maximum amount of




             29240
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          71 of
                                                              7194
                                                                 of 86


             FORTY-NINE MILLION, THREE HUNDRED TWENTY-FIVE THOUSAND DOLLARS

             ($49,325,000). On the same date as the granting of the LOAN AGREEMENT, the AUTHORITY

             subscribed a PROMISSORY NOTE for the amount of $49,325,000, payable to the BANK and maturing

             on January 31, 2013.

                     WHEREAS: On February 28, 2012, the BANK and the AUTHORITY signed a First

             Amendment to the Loan Agreement for the purpose of authorizing a disbursement from the LINE OF

             CREDIT for the amount of $2,327,084.46 for the payment of a debt with the Municipality of Guaynabo

             related to the South Peripheral Bridge project.

                     WHEREAS: On June 12, 2012, the parties signed a Second Amendment to the Loan Agreement

             for the purpose of reprogramming the funds of the LINE OF CREDIT for the partial payment of the

             claim related to the construction of the Martinez Nadal Highway of the AUTHORITY with the

             Municipality of Guaynabo for the amount of $2,374,326.03.

[initials]           WHEREAS: The AUTHORITY and the BANK signed a Third Amendment to the Loan

             Agreement, effective July 9, 2012, to disburse from the LINE OF CREDIT an amount of $2,327,084.46

             to settle the claim of the Municipality of Guaynabo against the AUTHORITY in relation to the

             construction of the Martinez Nadal Highway.

                     WHEREAS: As of December 31, 2012, the principal balance of the LINE OF CREDIT was

             $48,954,158.56, with interest accrued in the amount of $1,314,698.54.




             29240
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
                                               Filed:10/27/21 Entered:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          72 of
                                                              7294
                                                                 of 86


                      WHEREAS: The management of the BANK has recommended amending the LINE OF CREDIT

             for the purpose of extending the maturity and repayment of accrued interest until January 31, 2014.

                      WHEREAS: The Board of Directors of the BANK has authorized, through Resolution No. 9955

             adopted at the meeting held on January 17, 2013, amending the LOAN AGREEMENT for the purpose of

             extending the maturity date until January 31, 2014 and establishment the payment of fees for financial

             advisory services, among other terms and conditions.

                      WHEREAS: In accordance with Resolution No. 2013-08 issued on January 31, 2013 by Miguel

             A. Torres Dias, Secretary of the Department of Transportation and Public Works of Puerto Rico, the

             AUTHORITY has accepted the terms and conditions established by the BANK for this amendment.

                      THEREFORE, in consideration of the facts affirmed above, and the representations, agreements

             and guarantees presented hereinafter, the appearing parties:

                                                              AGREE
[initials]
                      FIRST: To amend Section 1.3 of Article 1 of the LOAN AGREEMENT to read as follows:


                      “The principal of the LINE OF CREDIT plus capitalized interest shall be payable on January 31,

             2014.”

                      SECOND: the AUTHORITY acknowledges, agrees and accepts to pay the BANK fees for

             financial advisory services equal to one twenty-fifth (1/25) of one percent (1%), for a total of nineteen




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                                                                  42
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          73 of
                                                              7394
                                                                 of 86


             thousand, seven hundred and thirty dollars ($19,730), corresponding to this transaction and according to

             the policy in force at the BANK.

                      FOURTH: On this same date, the AUTHORITY signs and grants a document entitled FIRST

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall form part of the

             original PROMISSORY NOTE subscribed by the AUTHORITY, for the purpose of incorporating the

             agreements and amendments indicated herein.

                      FIFTH: This FOURTH AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do
[initials]
             not constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended here. All other terms and conditions of the LOAN AGREEMENT

             and the PROMISSORY NOTE that do not contradict the provisions here shall remain unchanged and in

             full force.

                      SIXTH: This FOURTH AMENDMENT TO THE LOAN AGREEMENT is signed in accordance

             with Resolution 9955 adopted by the Board of Directors of the BANK on January 17, 2013, which was

             approved as a declaration of intent under U.S. Treasury Department Regulation Section 1.150-2.

                                             [SIGNATURES IN CONTINUATION]




             29240
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
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                           Exhibit Ex.
                                   20 47Page
                                           Page
                                             74 of
                                                 7494
                                                    of 86


IN WITNESS WHEREOF, the appearing parties grant this FIRST [sic] AMENDMENT TO THE

LOAN AGREEMENT, in San Juan, Puerto Rico, on March [hw:] 13, 2013.

PUERTO RICO GOVERNMENT                                 PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                       AND TRANSPORTATION AUTHORITY

[signature]                                            [signature]
Ian J. Figueroa Toro                                   Javier E. Ramos Hernandez
Executive Vice President                               Executive Director
and Finance Director


Certified Copy [hw:] 785

       Acknowledged and signed before me by Javier E. Ramos Hernandez, of legal age, married,
engineer and resident of Bayamon, Puerto Rico, in his capacity as Executive Director of the Highways
and Transportation Authority of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on March [hw:] 13, 2013.

        [stamp:] MARGUILEAN RIVERA AMILL
                 [emblem]                                      [signature]
                 ATTORNEY-NOTARY                               Notary Public

        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982

Certified Copy [hw:] 787

        Acknowledged and signed before me by Ian J. Figueroa Toro, of legal age, married and resident
of San Juan, Puerto Rico, in his capacity as Executive Vice President and Financing Director of the
Puerto Rico Government Development Bank, whom I know personally.

        In San Juan, Puerto Rico, on March [hw:] 13, 2013.

        [stamp:] MARGUILEAN RIVERA AMILL
                 [emblem]                                      [signature]
                 ATTORNEY-NOTARY                               Notary Public

        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982




29240
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                        Exhibit Ex.
                                                20 47Page
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                                                          75 of
                                                              7594
                                                                 of 86


                                    FIFTH AMENDMENT TO THE LOAN AGREEMENT

                                                            BETWEEN

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT

             DEVELOPMENT BANK, a banking institution organized and existing in accordance with Law No. 17,

             approved on September 23, 1948, as amended (the “BANK”), hereby represented by Jorge A. Clivilles

             Diaz, Fiscal Agent, of legal age, married, executive and resident of San Juan, Puerto Rico.

                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Javier E. Ramos Hernandez, Executive

             Director of the AUTHORITY, of legal age, married, engineer and resident of Bayamon, Puerto Rico.

                     Unless a term written in capital letters is defined otherwise in this FOURTH AMENDMENT TO

             THE LOAN AGREEMENT, it shall have the meaning assigned in the LOAN AGREEMENT, as defined

             hereinafter.

[initials]                                           THE PARTIES STATE

                     WHEREAS: On November 16, 2011, the Board of Directors of the BANK approved Resolution

             No. 9655 to grant the AUTHORITY a line of credit to finance the Capital Improvements Program

             (“PMC”) during the first half of fiscal year 2012. In accordance with the foregoing, on November 29,

             2011, the AUTHORITY and the BANK signed a Loan Agreement (the “LOAN AGREEMENT”) through

             which the AUTHORITY was granted a non-rotating LINE OF CREDIT for the maximum amount of




             30279
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          76 of
                                                              7694
                                                                 of 86


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             FORTY-NINE MILLION, THREE HUNDRED TWENTY-FIVE THOUSAND DOLLARS

             ($49,325,000). On the same date as the granting of the LOAN AGREEMENT, the AUTHORITY

             subscribed a PROMISSORY NOTE for the amount of $49,325,000, payable to the BANK and maturing

             on January 31, 2013.

                     WHEREAS: On February 28, 2012, the BANK and the AUTHORITY signed a First

             Amendment to the Loan Agreement for the purpose of authorizing a disbursement from the LINE OF

             CREDIT for the amount of $2,327,084.46 for the payment of a debt with the Municipality of Guaynabo

             related to the South Peripheral Bridge project.

                     WHEREAS: On June 12, 2012, the parties signed a Second Amendment to the Loan Agreement
[initials]
             for the purpose of reprogramming the funds of the LINE OF CREDIT for the partial payment of the

             claim related to the construction of the Martinez Nadal Highway of the AUTHORITY with the

             Municipality of Guaynabo for the amount of $2,374,326.03.

                     WHEREAS: The AUTHORITY and the BANK signed a Third Amendment to the Loan

             Agreement, effective July 9, 2012, to disburse from the LINE OF CREDIT an amount of $2,327,084.46

             to settle the claim of the Municipality of Guaynabo against the AUTHORITY in relation to the

             construction of the Martinez Nadal Highway.




             30279
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
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                                                          77 of
                                                              7794
                                                                 of 86


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                     WHEREAS: On March 13, 2013, the AUTHORITY and the BANK signed a Fourth Amendment

             to the Loan Agreement to extend the maturity and repayment of accrued interest until January 31, 2014.

                     WHEREAS: As of October 31, 2013, the principal balance of the LINE OF CREDIT was

             $49,325,000.00, with accrued interest in the amount of $3,806,291.42.

                     WHEREAS: The AUTHORITY has requested, and the management of the BANK has

             recommended, amending the LINE OF CREDIT for the purpose of extending its maturity until January

             31, 2015.

                     WHEREAS: The Board of Directors of the BANK has authorized, through Resolution No.

             10197 adopted at the meeting held on November 20, 2013, amending the LOAN AGREEMENT for the

             purpose of extending the maturity date and repayment of accrued interest until January 31, 2015 and

             requiring the payment of fees for financial advisory services, among other terms and conditions.

[initials]           WHEREAS: In accordance with Resolution No. 2014-04 issued on January 30, 2014 by the

             Board of Directors of the AUTHORITY, the AUTHORITY has accepted the terms and conditions

             established by the BANK for this amendment.

                     THEREFORE, in consideration of the facts affirmed above, and the representations, agreements

             and guarantees presented hereinafter, the appearing parties:




             30279
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
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                                                          78 of
                                                              7894
                                                                 of 86


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                                                              AGREE

                      FIRST: To amend the first sentence of Section 1.3 of Article 1 of the LOAN AGREEMENT, as

             amended, to read as follows:

                      “The principal of the LINE OF CREDIT plus capitalized interest shall be payable on January 31,

             2015.”

                      SECOND: The AUTHORITY acknowledges, agrees and accepts to pay the BANK the amount of

             $19,730.00 for financial advisory services corresponding to this transaction and according to the policy in

             force at the BANK.

                      THIRD: On this same date, the AUTHORITY signs and grants a document entitled SECOND

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall form part of the

             original PROMISSORY NOTE subscribed by the AUTHORITY, for the purpose of incorporating the

             agreements and amendments indicated herein.
[initials]
                      FOURTH: This FIFTH AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do

             not constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended. All other terms and conditions of the LOAN AGREEMENT and the

             PROMISSORY NOTE that do not contradict the provisions here shall remain unchanged and in full

             force.

                      FIFTH: This FIFTH AMENDMENT TO THE LOAN AGREEMENT is signed in accordance

             with Resolution 10197 adopted by the Board of Directors of the BANK on November 20, 2013, which

             was approved as a declaration of intent under U.S. Treasury Department Regulation Section 1.150-2.

                                            [SIGNATURES ON THE NEXT PAGE]

             30279
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
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                           Exhibit Ex.
                                   20 47Page
                                           Page
                                             79 of
                                                 7994
                                                    of 86


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IN WITNESS WHEREOF, the appearing parties grant this FIFTH AMENDMENT TO THE LOAN

AGREEMENT, in San Juan, Puerto Rico, on January [hw:] 31, 2014.

PUERTO RICO GOVERNMENT                                  PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                        AND TRANSPORTATION AUTHORITY

[signature]                                             [signature]
Jorge A. Clivilles Diaz                                 Javier E. Ramos Hernandez
Fiscal Agent                                            Executive Director


Certified Copy [hw:] 585

       Acknowledged and signed before me by Javier E. Ramos Hernandez, of legal age, married,
engineer and resident of Bayamon, Puerto Rico, in his capacity as Executive Director of the Highways
and Transportation Authority of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on January [hw:] 31, 2013.

        [stamp:] BELEN FORNARIS ALFARO
                 [emblem]                                      [signature]
                 PUERTO RICO                                   Notary Public
                 ATTORNEY-NOTARY

        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982

Certified Copy [hw:] 586

        Acknowledged and signed before me by Jorge A. Clivilles Diaz, of legal age, married and
resident of San Juan, Puerto Rico, in his capacity as Fiscal Agent of the Puerto Rico Government
Development Bank, whom I know personally.

        In San Juan, Puerto Rico, on January [hw:] 31, 2013.

        [stamp:] BELEN FORNARIS ALFARO
                 [emblem]                                      [signature]
                 PUERTO RICO                                   Notary Public
                 ATTORNEY-NOTARY

        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982


30279
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          80 of
                                                              8094
                                                                 of 86




                                   SIXTH AMENDMENT TO THE LOAN AGREEMENT

                                                           BETWEEN

                     THE PARTY OF THE FIRST PART: PUERTO RICO GOVERNMENT

             DEVELOPMENT BANK, a banking institution organized and existing in accordance with Law No. 17,

             approved on September 23, 1948, as amended (the “BANK”), hereby represented by Jorge A. Clivilles

             Diaz, Executive Vice President and Fiscal Agent, of legal age, married, executive and resident of San

             Juan, Puerto Rico.

                     THE PARTY OF THE SECOND PART: PUERTO RICO HIGHWAYS AND

             TRANSPORTATION AUTHORITY, a legal entity created by virtue of Law No. 74 of June 23, 1965

             (the “AUTHORITY”), as amended, hereby represented by Carmen A. Villar-Prados, Executive Director

             of the AUTHORITY, of legal age, married, engineer and resident of Guaynabo, Puerto Rico.

                     Unless a term written in capital letters is defined otherwise in this SIXTH AMENDMENT TO

             THE LOAN AGREEMENT, it shall have the meaning assigned in the LOAN AGREEMENT, as defined

             hereinafter.

[initials]                                           THE PARTIES STATE

                     WHEREAS: On November 16, 2011, the Board of Directors of the BANK approved Resolution

             No. 9655 to grant the AUTHORITY a line of credit to finance the Capital Improvements Program

             (“PMC”) during the first half of fiscal year 2012. In accordance with the foregoing, on November 29,

             2011, the AUTHORITY and the BANK signed a Loan Agreement (the “LOAN AGREEMENT”) through

             which the AUTHORITY was granted a non-rotating LINE OF CREDIT for the maximum amount of




             30279
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          81 of
                                                              8194
                                                                 of 86


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             FORTY-NINE MILLION, THREE HUNDRED TWENTY-FIVE THOUSAND DOLLARS

             ($49,325,000). On the same date as the granting of the LOAN AGREEMENT, the AUTHORITY

             subscribed a PROMISSORY NOTE for the amount of $49,325,000, payable to the BANK and maturing

             on January 31, 2013.

                     WHEREAS: On February 28, 2012, the BANK and the AUTHORITY signed a First

             Amendment to the Loan Agreement for the purpose of authorizing a disbursement from the LINE OF

             CREDIT for the amount of $2,327,084.46 for the payment of a debt with the Municipality of Guaynabo

             related to the South Peripheral Bridge project.

                     WHEREAS: On June 12, 2012, the parties signed a Second Amendment to the Loan Agreement

             for the purpose of reprogramming the funds of the LINE OF CREDIT for the partial payment of the claim

             related to the construction of the Martinez Nadal Highway of the AUTHORITY with the Municipality of

             Guaynabo for the amount of $2,374,326.03.

[initials]           WHEREAS: The AUTHORITY and the BANK signed a Third Amendment to the Loan

             Agreement, effective July 9, 2012, to disburse from the LINE OF CREDIT an amount of $2,327,084.46

             to settle the claim of the Municipality of Guaynabo against the AUTHORITY in relation to the

             construction of the Martinez Nadal Highway.

                     WHEREAS: On March 13, 2013, the AUTHORITY and the BANK signed a Fourth Amendment

             to the Loan Agreement to extend the maturity and repayment of accrued interest until January 31, 2014.




             31272
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          82 of
                                                              8294
                                                                 of 86


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                     WHEREAS: On January 31, 2014, the AUTHORITY and the BANK signed a Fifth Amendment

             to the Loan Agreement to extend the maturity and repayment of accrued interest until January 31, 2015,

             subject to certain terms and conditions.

                     WHEREAS: As of December 31, 2014, the principal balance of the LINE OF CREDIT was

             $49,325,000.00, with accrued interest for the amount of $7,308,366.99.

                     WHEREAS: The management of the BANK has recommended amending the LOAN

             AGREEMENT, as amended, for the purpose of extending the maturity until January 31, 2016.

                     WHEREAS: The Board of Directors of the BANK has authorized, through Resolution No.

             10554 adopted at the meeting held on December 17, 2014, amending the LOAN AGREEMENT for the

             purpose of extending the maturity date and repayment of accrued interest until January 31, 2016 and

             requiring the payment of fees for financial advisory services, among other terms and conditions.

                     WHEREAS: In accordance with Resolution No. 2015-07 issued on January 15, 2015 by the

             Board of Directors of the AUTHORITY, the AUTHORITY has accepted the terms and conditions

             established by the BANK for this amendment.
[initials]
                     THEREFORE, in consideration of the facts affirmed above, and the representations, agreements

             and guarantees presented hereinafter, the appearing parties:




             31272
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          83 of
                                                              8394
                                                                 of 86


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                                                              AGREE

                     FIRST: The parties agree to extend the maturity date of the LINE OF CREDIT and to include the

             income assigned to the AUTHORITY under Laws No. 30 and 31 of June 25, 2013 as an additional source

             of payment of the obligation. Consequently, Section 1.3 of Article 1 of the LOAN AGREEMENT, as

             amended, is amended to read as follows:

                     “The principal of the LINE OF CREDIT plus capitalized interest shall be payable on January 31,
                     2016. The source of payment shall be future issuances of bonds and any other funds available to
                     the AUTHORITY, including the income assigned under Laws No. 30 and 31 of June 25, 2013,
                     which are assigned and committed in favor of the BANK through the Assignment and Security
                     Agreement signed on August 28, 2013 between the BANK and the AUTHORITY.”

                     SECOND: The Executive Director of the AUTHORITY and the Secretary of the Department of

             Transportation and Public Works must make a presentation to the Board of Directors of the BANK on the

             finances of the AUTHORITY and the progress of the implementation of its medium and long-term plans

             to address, quickly and effectively, the fiscal situation of the AUTHORITY, as well as the new income

             already legislated. This presentation must be made prior to the BANK disbursing any funds available

             under the LINE OF CREDIT.

[initials]           THIRD: On this same date, the AUTHORITY signs and grants a document entitled THIRD

             AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”). This ALLONGE shall form part of the

             original PROMISSORY NOTE subscribed by the AUTHORITY, for the purpose of incorporating the

             agreements and amendments indicated herein.

                     FOURTH: The AUTHORITY acknowledges, agrees and accepts to pay the BANK the amount

             of nineteen thousand, seven hundred thirty dollars ($19,730.00) for financial advisory services



             31272
             Case:17-03283-LTS
              Case:21-00068-LTS Doc#:18815-5
                                 Doc#:46-20 Filed:08/26/21
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                                     Monolines
                                        Exhibit Ex.
                                                20 47Page
                                                        Page
                                                          84 of
                                                              8494
                                                                 of 86


                                                                 5


             corresponding to this transaction and according to the policy in force at the BANK.

                      FIFTH: This SIXTH AMENDMENT TO THE LOAN AGREEMENT and its ALLONGE do not

             constitute a novation of the obligations of the AUTHORITY under the LOAN AGREEMENT and

             PROMISSORY NOTE, as amended. All other terms and conditions of the LOAN AGREEMENT and the

             PROMISSORY NOTE that do not contradict the provisions here shall remain unchanged and in full

             force.

                      SIXTH: The President of the BANK, the Executive Vice President of Financing or any other

             executive vice President, may channel the funds and income of the AUTHORITY corresponding to Laws

             30 and 31 of June 25, 2013 for the repayment of the current financing and any other sums that the BANK

             charges for pending obligations of the AUTHORITY.

                      SEVENTH: This SIXTH AMENDMENT TO THE LOAN AGREEMENT is signed in

             accordance with Resolution 10554 adopted by the Board of Directors of the BANK on December 17,

             2014, which was approved as a declaration of intent under U.S. Treasury Department Regulation Section

             1.150-2.

                                            [SIGNATURES ON THE NEXT PAGE]




[initials]




             31272
Case:17-03283-LTS
 Case:21-00068-LTS Doc#:18815-5
                    Doc#:46-20 Filed:08/26/21
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                        Monolines
                           Exhibit Ex.
                                   20 47Page
                                           Page
                                             85 of
                                                 8594
                                                    of 86


                                                    6


IN WITNESS WHEREOF, the appearing parties grant this FIFTH AMENDMENT TO THE LOAN

AGREEMENT, in San Juan, Puerto Rico, on May [hw:] 20, 2015.

PUERTO RICO GOVERNMENT                                   PUERTO RICO HIGHWAYS
DEVELOPMENT BANK                                         AND TRANSPORTATION AUTHORITY

[signature]                                              [signature]
Jorge A. Clivilles Diaz                                  Carmen A. Villar-Prados
Executive Vice President and                             Executive Director
Fiscal Agent


Certified Copy [hw:] 733

        Acknowledged and signed before me by Carmen A. Villar-Prados, of legal age, married, engineer
and resident of Guaynabo, Puerto Rico, in her capacity as Executive Director of the Highways and
Transportation Authority of Puerto Rico, and by Jorge A. Clivilles Diaz, of legal age, married, executive
and resident of San Juan, Puerto Rico, in his capacity as Executive Vice President and Fiscal Agent of the
Puerto Rico Government Development Bank, both of whom I know personally.

        In San Juan, Puerto Rico, on May [hw:] 20, 2015.

        [stamp:] BELEN FORNARIS ALFARO
                 [emblem]                                        [signature]
                 PUERTO RICO                                     Notary Public
                 ATTORNEY-NOTARY

        [stamp:] EXEMPT FROM PAYMENT OF DUTY
                 LAW 47 OF JUNE 4, 1982




31272
               Case:17-03283-LTS
                Case:21-00068-LTS Doc#:18815-5
                                   Doc#:46-20 Filed:08/26/21
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                                          Exhibit Ex.
                                                  20 47Page
                                                          Page
                                                            86 of
                                                                8694
                                                                   of 86



DATE OF TRANSLATION:                  23-Aug-21
ELECTRONIC FILE NAME:                 November 29, 2011 Agreement


SOURCE LANGUAGE:                      Spanish
TARGET LANGUAGE:                      English
TRANSPERFECT JOB ID:                  US1061278

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the Quality Management System documented in its ISO process maps and are, to the best
knowledge and belief of all TransPerfect employees engaged on the project, full and accurate
translations of the source material.

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